Case 21-17116-CMG Doc 144-2 Filed 12/28/21 Entered 12/28/21 14:57:43   Desc
                 Exhibit 2 - Beldock Declaration Page 1 of 87



                   EXHIBIT 2 - BELDOCK DECLARATION
Case 21-17116-CMG Doc 144-2 Filed 12/28/21 Entered 12/28/21 14:57:43                         Desc
                 Exhibit 2 - Beldock Declaration Page 2 of 87



     UNITED STATES BANKRUPTCY COURT
      FOR THE DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1(a)

Benesch, Friedlander, Coplan & Aronoff LLP
Michael J. Barrie (NJ No. 033262000)
Kevin M. Capuzzi (NJ No. 173442015)
Continental Plaza II
411 Hackensack Ave., 3rd Floor
Hackensack, NJ 07601-6323
Telephone: (302) 442-7010
Facsimile: (302) 442-7012
mbarrie@beneschlaw.com
kcapuzzi@beneschlaw.com

Counsel to 710 Route 38 ABL I Holdings, LLC
                                                         Chapter 11
In re:
                                                         Case No. 21-17116 (CMG)
                                                 1
EVERGREEN I ASSOCIATES, LLC, et al.,
                                                         (Jointly Administered)
                                 Debtors.
                                                         Judge: Christine M. Gravelle


                   DECLARATION OF NEIL BELDOCK IN SUPPORT OF
                THE MOTION OF 710 ROUTE 38 ABL I HOLDINGS, LLC FOR
    (I) ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. §§ 361 AND 363(e), AND/OR
        (II) RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d)

           1.     I, Neil Beldock, am the Senior Vice President of Lending at Pender Capital Asset

Based Lending Fund I, LP (“Pender”) and an authorized representative of 710 Route 38 ABL I

Holdings, LLC (“Lender”). I regularly work with the business records of Lender and Pender and

have personal knowledge of the facts set forth herein.

           2.     Except as otherwise indicated, all facts set forth in this declaration (the

“Declaration”) are based upon (a) my personal knowledge of the Lender’s and Pender’s

1
           The Debtors in these chapter 11 cases and the last four digits of the Debtors’ taxpayer
           identification numbers are as follows: Evergreen I Associates, LLC (5258), Evergreen II
           Associates, LLC (5300), Evergreen III Associates, LLC (5332), and Evergreen Plaza
           Associates, LLC (5141).




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operations and finances, (b) information learned from my review of relevant documents, and

(c) information obtained by my review of the business records of Pender and Lender. The

business records of Pender and Lender I reviewed are regularly maintained and kept in the

ordinary course of business of Pender and Lender in connection with the regularly conducted

business of Pender and Lender (i.e., making loans and deploying capital).

       3.       If called upon to testify, I could and would testify competently to the facts as set

forth herein.

       4.       Lender is the assignee and successor-in-interest to the original lender, Pender

Capital Asset Based Lending Fund I, LP, under that certain Assignment of Mortgage and Other

Recorded Loan Documents dated August 31, 2021 (“Assignment”).

       5.       Attached hereto as Exhibit A is a true and correct copy of the Assignment of

Judgment and Writ of Execution filed in the Foreclosure Action (defined below) attaching a true

and correct copy of the Assignment.

I.     THE LENDER’S FIRST-LIEN SECURED LOAN TO DEBTORS

       6.       Pender—the predecessor in interest of Lender—made a $6,500,000 loan (“Loan”)

to Evergreen Plaza Associates LLC (“Evergreen Plaza”), Evergreen I Associates LLC

(“Evergreen I”), Evergreen II Associates LLC (“Evergreen II”), and Evergreen III Associates,

LLC (“Evergreen III,” collectively with Evergreen Plaza, Evergreen I, and Evergreen II, the

“Debtors” and each, a “Debtor”) that is secured by substantially all of the assets of the Debtors.

       7.       To evidence their indebtedness, on or about March 14, 2018, Debtors, as

borrowers, executed in favor of, and delivered to, Pender, as lender, a Promissory Note in the

principal amount of $6,500,000, with an initial rate of interest of 12.00% (as amended,

supplemented, or modified from time to time, the “Note”). Note § 1(a).




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                 Exhibit 2 - Beldock Declaration Page 4 of 87



       8.      Attached hereto as Exhibit B is true and correct copy of the Note.

       9.      To secure the observance, payment, and performance of their obligations under

the Note, on or about March 14, 2018, Debtors executed in favor of, and delivered to, Pender a

Mortgage, Assignment of Rents and Security Agreement (as amended, supplemented, or

modified from time to time, the “Mortgage”). The Mortgage, Note, and all other documents

evidencing, securing, guarantying, or relating to any of Debtors’ obligations under the Loan are

referred to collectively as the “Loan Documents”. The Mortgage was duly recorded with the

Office of the Burlington County Clerk on April 5, 2018, as Instrument Number 5374273, in

Book OR13328 at Page 9222.

       10.     Attached hereto as Exhibit C is a true and correct copy of the Mortgage.

       11.     The Mortgage encumbers all that certain tract, lot, and parcel of land situate and

lying in the Townships of Mount Holly and Lumberton, Burlington County, known as (i) Lot 2

in Block 117.02 on the Township of Mount Holly Tax Map and Lot 4.01 in Block 22 on the

Township of Lumberton Tax Map, and (ii) Lot 2.04 and Lot 2.05 in Block 117.02 on the

Township of Mount Holly Tax Map and Lot 4.10 in Block 22.01 on the Township of Lumberton

Tax Map, being commonly known as S. Pemberton Road and 1722 Route 38, Mt. Holly, NJ

08060, as more particularly described in the Mortgage (the “Property”).

       12.     Attached hereto as Exhibit D is a true and correct copy of the metes and bound

description of the Property.

       13.     On or about September 13, 2018, Debtors executed in favor of, and delivered to,

Pender an Amendment to the Mortgage (the “Amendment to the Mortgage”), which was duly

recorded with the Burlington County Clerk on October 2, 2018, as Instrument Number 5413200,

at Book OR13356, at Page 1848.




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       14.     Attached hereto as Exhibit E is a true and correct copy of the Amendment to the

Mortgage.

       15.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.


Dated: December 28, 2021                                      /s/ Neil Beldock
                                                              Neil Beldock




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                      EXHIBIT A
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Case 21-17116-CMG Doc 144-2 Filed 12/28/21 Entered 12/28/21 14:57:43          Desc
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                              Exhibit A
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                Exhibit 2 - Beldock Declaration                    Page 12 of 87




                          SUPERIOR COURT OF NEW JERSEY
                                 OFFICE OF FORECLOSURE
                                              Cost Sheet




                                            Chancery Division

 Docket No. SWC-F-002953-19                                                              County:BURLINGTON




                                          Attorney's Allowance by Statute      50.00
                                                   Filing Fees Paid to Clerk   250.00
                                    Counsel Fees Allowed Under R.4:42-9        7500.00
                                                    Sheriff Fees for Service   0.00
                                    Search Costs Allowed Under R.4:42-10       500.00
                                             Printing Costs for Publication    0.00
                                                 Cost of Filing Lis Pendens    0.00
                                                                    Motions    100.00
                  Costs on Application for Writ of Execution (if applicable)   0.00
                                                                      Other    0.00
                                                                 Total Costs   8400.00


         Date Taxed and Filed:   11/13/2020



                    Attorney:
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Case 21-17116-CMG Doc 144-2 Filed 12/28/21               Entered 12/28/21 14:57:43       Desc
                Exhibit 2 - Beldock Declaration          Page 13 of 87



Benesch, Friedlander, Coplan & Aronoff LLP
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kcapuzzi@beneschlaw.com

Attorneys for Plaintiff Pender Capital Asset Based Lending Fund I, LP


 PENDER CAPITAL ASSET BASED
 LENDING FUND I, LP,
                                                SUPERIOR COURT OF NEW JERSEY
               Plaintiff,                       CHANCERY DIVISION: BURLINGTON
                                                COUNTY
 v.
                                                Docket No. SWC-F-002953-19
 EVERGREEN PLAZA ASSOCIATES LLC,
 EVERGREEN I ASSOCIATES LLC,                    Civil Action – Foreclosure
 EVERGREEN II ASSOCIATES LLC, and
 EVERGREEN III ASSOCIATES, LLC,                 FINAL JUDGMENT OF FORECLOSURE

               Defendants.


       Upon motion to the Court by Plaintiff Pender Capital Asset Based Lending Fund I, LP

(“Plaintiff”), by and through its counsel; and it appearing that the Summons and Complaint in

Foreclosure were duly issued and served upon Defendants Evergreen Plaza Associates LLC,

Evergreen I Associates LLC, Evergreen II Associates LLC, and Evergreen III Associates, LLC

(together, “Defendants”) in accordance with the Rules of Civil Practice Governing the Courts of

the State of New Jersey; and the Court ordering summary judgment against Defendants on July

15, 2020.

       And it appearing that the Note dated March 14, 2018 and the Mortgage dated March 18,

2018, have been presented and marked as exhibits by the Court; and that proofs have been
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                Exhibit 2 - Beldock Declaration               Page 14 of 87



submitted of the amounts due thereon; and that there is due and owing to Plaintiff, as more

particularly described in the Note and Mortgage, the aggregate sum of $8,340,659.20

$8,591,437.90, as of July 31, 2020 September 30, 2020, with lawful interest computed thereafter

on the total sum due Plaintiff until the same be paid and satisfied, plus costs to be taxed and counsel

fees;

        IT IS on this 13th day of November, 2020;

          1.   ORDERED AND ADJUDGED that Plaintiff is entitled to have first the sum of

 $8,340,659.20 $8,591,437.90, with lawful interest from December 1, 2018 the date of final

 judgment, until the same be paid and satisfied, plus costs of this suit to be taxed ($850.00) and

 attorney’s fees ($7,500.00) in the aggregate amount of $8,350.00, all to be raised and paid out

 of those certain tracts, lots, and parcels of land situate and lying in the Townships of Mount

 Holly and Lumberton, Burlington County, known as (i) Lot 2 in Block 117.02 on the Township

 of Mount Holly Tax Map and Lot 4.01 in Block 22 on the Township of Lumberton Tax Map and

 (ii) Lot 2.04 and Lot 2.05 in Block 117.02 on the Township of Mount Holly Tax Map and Lot

 4.10 in Block 22.01 on the Township of Lumberton Tax Map, being commonly known as S.

 Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060 (collectively, the “Property” or the

 “Mortgaged Premises”) and collateral; and it is

          2.   FURTHER ORDERED AND ADJUDGED that Plaintiff, its successors and/or

 assigns, or any purchaser at the foreclosure sale duly recover against Defendants, and all parties

 holding by, though, or claiming under them, possession of the premises and collateral mentioned

 and described in the Complaint in Foreclosure with the appurtenances thereon and that a Writ of

 Possession issue thereon; and it is




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        3.       FURTHER ORDERED AND ADJUDGED that the Mortgaged Premises be sold

to raise and satisfy the amounts due to Plaintiff, or its successors and assigns, and that, for that

purpose, an execution duly issue out of this Court directed to the Sheriff of Burlington County

commanding him or her to make a sale, according to law, of the Mortgaged Premises and collateral,

and out of the monies arising from the sale that he or she pay Plaintiff, or its successors and assigns

or its attorney, the amounts due and owing to Plaintiff until such amounts are paid in full and

satisfied; and that in case more money shall be realized by such sale than shall be necessary to

satisfy such indebtedness to Plaintiff, that such surplus be brought into this Court and deposited

with the Clerk to abide the further order of this Court and that the Sheriff make his or her report

of the aforesaid sale without delay as required by the Rules Governing the Courts of the State of

New Jersey; and it is

        4.       FURTHER ORDERED AND ADJUDGED that this Final Judgment shall not affect

the rights of persons protected by the New Jersey Tenant Anti-Eviction Act (N.J.S.A. 2A:18-68.l

et. seq., if any; and it is

        5.       FURTHER ORDERED AND ADJUDGED that Defendants, and their heirs,

successors and assigns, stand absolutely debarred and foreclosed of and from all equity of

redemption of, in and to the Mortgaged Premises and collateral described in the Complaint in

Foreclosure when sold by virtue of this Final Judgment, except as provided by 28 U.S.C. § 2410.


                                               /s/Kathi F. Fiamingo, J.T.C. t/a
                                               Respectfully Recommended
                                               R. 1:34-6 OFFICE OF FORECLOSURE




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                              Exhibit B
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                                   EXHIBIT 1
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                              Exhibit C
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                   Exhibit 2 - Beldock Declaration Page 23 of 87



 Benesch, Friedlander, Coplan & Aronoff LLP
 By:    Michael J. Barrie (NJ No. 033262000)
        Kevin M. Capuzzi (NJ No. 173442015)
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 mbarrie@beneschlaw.com
 kcapuzzi@beneschlaw.com

 Attorneys for Plaintiff Pender Capital Asset Based Lending Fund I, LP


  PENDER CAPITAL ASSET BASED
  LENDING FUND I, LP,
                                                  SUPERIOR COURT OF NEW JERSEY
                Plaintiff,                        CHANCERY DIVISION: BURLINGTON
                                                  COUNTY
  v.
                                                  Docket No. SWC-F-002953-19
  EVERGREEN PLAZA ASSOCIATES LLC,
  EVERGREEN I ASSOCIATES LLC,                     Civil Action – Foreclosure
  EVERGREEN II ASSOCIATES LLC, and
  EVERGREEN III ASSOCIATES, LLC,                  WRIT OF EXECUTION

                Defendants.


                               THE STATE OF NEW JERSEY TO

                             SPECIAL MASTER IAN V. LAGOWITZ

                                        GREETINGS:

       WHEREAS, on the 13th day of November, 2020, by a certain judgment made in our

Superior Court of New Jersey in a certain cause therein pending wherein Pender Capital Asset

Based Lending Fund I, LP (“Plaintiff”) is the plaintiff and Evergreen Plaza Associates LLC,

Evergreen I Associates LLC, Evergreen II Associates LLC, and Evergreen III Associates LLC

(collectively, “Defendants”) are the defendants, it was ordered and adjudged that certain

mortgaged premises with the appearances and collateral particular set forth and described in the
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                   Exhibit 2 - Beldock Declaration Page 24 of 87



Complaint in Foreclosure, that is to say: all those certain tracts, lots, and parcels of land situate

and lying in the Townships of Mount Holly and Lumberton, Burlington County, known as (i) Lot

2 in Block 117.02 on the Township of Mount Holly Tax Map and Lot 4.01 in Block 22 on the

Township of Lumberton Tax Map and (ii) Lot 2.04 and Lot 2.05 in Block 117.02 on the Township

of Mount Holly Tax Map and Lot 4.10 in Block 22.01 on the Township of Lumberton Tax Map,

being commonly known as S. Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060, the real

property as more particularly described on Exhibit A attached hereto and made a part hereof.

        TOGETHER with all and singular the rights, liberties, privileges, hereditaments, and

appurtenances thereunto belonging or in anywise appertaining, and the reversion and remainders,

rents, issues, and profits thereof, and also all the estate, right, title, interest, use, property, claim,

and demand of Defendants of, in, to and out of the same, and all collateral, including, but not

limited to, fixtures, be sold to pay and satisfy in the first place unto Plaintiff the aggregate sum of

$8,591,437.90, as of September 30, 2020, which is secured by a certain mortgage dated March 14,

2018 and given by Defendants, together with lawful interest computed thereafter on the total sum

due Plaintiff until the same be paid and satisfied, and also the costs and attorneys’ fees of the

aforesaid Plaintiff, with interest thereon;

        AND that, for that purpose, a Writ of Execution should issue, directed to Special Master

Ian V. Lagowitz (the “Special Master”), commanding him to make the sale as aforesaid; and that

the surplus money arising from such sale, if any there be, should be brought into said Court and

deposited with the Clerk, subject to the further order of the said Court as by the said judgment

remaining as of record in our said Superior Court of New Jersey, at Trenton, doth and may more

fully appear;




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          WHEREAS, the costs of the said Plaintiff including attorneys’ fees have been duly taxed

in the amount of $8,400.00;

          THEREFORE, you are hereby commanded that you cause sale to be made of the premises

and collateral, by selling so much of the same as may be needful and necessary for the purpose, to

raise for Plaintiff said sum of $8,591,437.90, as of September 30, 2020, with lawful interest

thereafter, plus costs and attorneys’ fees in the amount of $8,400.00, and that you have the surplus

money, if any there be, before the Superior Court of New Jersey aforesaid at Trenton, within thirty

(30) days after the sale to abide the further order of the said court, according to the judgment

aforesaid; and you are to make return of the time and place aforesaid, by certificate under your

hand, of the manner in which you have executed this our Writ, together with this Writ. If there is

no sale, the Writ shall be returnable within twenty-four (24) months in accordance with Rule 4:59-

l(a).

          WITNESS, the Honorable Kathi F. Fiamingo, J.T.C. t/a, a Judge of the Superior Court of

New Jersey, at Mount Holly, New Jersey, aforesaid this 12th day of May, 2021.


                                                                     /s/ Michelle M. Smith, Esquire
                                                                     MICHELLE M. SMITH, ESQUIRE
                                                                     CLERK OF THE SUPERIOR COURT

                                        SIGNED AND SEALED IN THE SUPERIOR COURT OF NEW JERSEY




Benesch, Friedlander, Coplan &
Aronoff LLP
Attorneys for Plaintiff

By:      /s/ Kevin M. Capuzzi
        KEVIN M. CAPUZZI




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                Exhibit 2 - Beldock Declaration            Page 28 of 87



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       Kevin M. Capuzzi (NJ No. 173442015)
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kcapuzzi@beneschlaw.com

Attorneys for Plaintiff


 PENDER CAPITAL ASSET BASED
 LENDING FUND I, LP,

                  Plaintiff,                     SUPERIOR COURT OF NEW JERSEY
                                                 CHANCERY DIVISION: BURLINGTON
 v.                                              COUNTY

 EVERGREEN PLAZA ASSOCIATES LLC,                 DOCKET NO. F-002953-19
 EVERGREEN I ASSOCIATES LLC,
 EVERGREEN II ASSOCIATES LLC, and                CIVIL ACTION
 EVERGREEN III ASSOCIATES, LLC,
                                                 CERTIFICATION OF SERVICE
                  Defendants.


       I hereby certify that on September 8, 2021, I caused a copy of:

       1. Assignment of Judgment and Writ of Execution; and
       2. Certification of Service.

       To be served via first-class mail upon:

       Evergreen Plaza Associates LLC
       Evergreen I Associates LLC
       Evergreen II Associates LLC
       Evergreen III Associates LLC
       477 Colonial Road
       Ridgewood, New Jersey 07450
       Defendants




       15004235
     SWC-F-002953-19 09/08/2021 5:01:16 PM Pg 2 of 2 Trans ID: CHC2021176857
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      New York, NY 10110
      Attorney for Defendants

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      Receiver

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      Newark, New Jersey 07102
      Attorney for Receiver

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      Attorney for Paul Robbins and Barbara Lowenthal

      Alan R. Ackerman, Esq.
      Law Offices of Alan R. Ackerman
      1719 Route 10 East, Suite 106
      Parsippany, NJ 07054
      Attorney for The Independence Project Inc. and Dennis Maurer

      Sheriff Anthony Basantis
      Burlington County Sheriff's Office
      49 Rancocas Road
      Room G4
      Mount Holly, NJ 08060

Dated: September 8, 2021                         /s/ Kevin M. Capuzzi
                                                Kevin M. Capuzzi (NJ No. 173442015)




                                            2
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                        EXHIBIT B
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                        EXHIBIT C
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RECORDING INFORMATION SHEET                                                                                 SO RANCOCAS RD,
                                                                                                           MT. HOLLY, NJ 08060



        INSTRUMENT NUMBER:                                                DOCUMENf TYPE:

              5374273                                                     MORTGAGE
                                             Docurµent C.harge Type MORTGAGE
            Official Use Only
                                             Return Address (for recorded documents)
                                                    INGEO
                                                    1300NORTH200EAST, SUITE 118
                                                      LOGAN UT 84321
         TIMOTIN D. ~ER
       BURLINGTON COUNTY
          RECEIPT NUMBER                     No.Of Pages                                                                    28
               8484436                       (&eluding Recording l,iformation and/or Summary Slwet)
            RECORDED ON                      Conslderatlon Amount                                              $6,500,000.00
        April 05, 2018 12:30 PM
                                             Recording Feo                                                            $300.00
       INSTRUMENT NUMBER
             5374273                         Realty Transfer Fee                                                         $0.00
                                             Total Amoont Paid                                                        $300.00
     BOOK: OR13328
     PAGE: 9222                              Municipality           MOUNT HOLLY TWP
                                             Parcel Information      Bloc.k: 117.02
                                                                     Lot: 2

                                             First Party Name    EVERGREEN PLAZA ASSOC
                                             Sooond Party Name PENDER CAPlTAL ASSET BASED LENDING FUND
                                                              Additional Information (Official Use Onty)




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                 0 BE A TRUE COP
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                COUNTY CLERK
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         Case 21-17116-CMG Doc 144-2 Filed 12/28/21                                      Entered 12/28/21 14:57:43                   Desc
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                                                Burlington County Document Summary Sheet
                   • ,.·!.Ir..;....   @•~


                                                                   Transaction Identification Number           13342803               2810139

BURLINGTON COUN1Y CLERK
                                                                  Recorded Document to be Returned by Submitter to:
                                                                  MAIN STREETTilLEAGENCYINC NJ
 50 RANCOCAS RD
                                                                  190MAINST.
MOUNTHOLLYNJ080601317
                                                                  HACKENSACK, NJ 07601


                  Official Use Only                              Submission Date (mmldd/-yyyy)                                       03/29/2018

                                                                 No. of Pages (excluding Summary Sheet)                                     28
                                                                 Recording Fee (excluding transfer tax)                                $300.00


                                                                 Realty Transfer Tax                                                      $0.00
                                                                 Total Amount                                                          $300.00
                                                                 Document 'fype      MORTGAGE




                                                                Electronic Recordation Level       L2 - Level 2 (With Images)


                                                                 Municipal Codes
                                                                        LUMBERTON TWP                                           17

                                                                 BarCode(s)




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                                                     Additional information (Official Use Only)




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                    -~~~--   .

                                  1·.       Burlington County Document Summary Sheet
                                 ,.



                     Type                         MORTGAGE

                     Consideration                $6,500,000.00
                     Submitted By                 MAIN STREET TITI..EAGENCY INC NJ (CSC/INGEO SYSTEMS
                                                  ThT('\


                    Document Date                 03/18/2018

                     Reference Info

                                      Book ID          Book        Beginning Page    Instrument No.         Recorded/File Date




MORTGAGE            MORTGAGOR                                      Name                                   Address
                                                  EVERGREEN PLAZA ASSOCIATES
                                                  EVERGREENIASSOCIA:rES
                                                  EVERGREEN ITASSOCIATES
                                                  EVERGREEN ill ASSOCIATES



                    MORTGAGEE                                      Name                                   Address

                                                  PENDER CAPITAL ASSET BASED
                                                  LENDING FUND I LP




                     Parcel Info

                             Property Type             Tax Dist.          Block         Lot           Qualifier     Municipality




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Case 21-17116-CMG Doc 144-2 Filed 12/28/21                                          Entered 12/28/21 14:57:43                      Desc
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             RECORD &IIETURN TO:
 MAIN STB'EETTITLE &smeMENT SERV1CEI,        w
                190 MAIN STREET
        HACKENSACK, NEW JERSEY 07601
               t-ti,,.   "n,s
    PREPARED BY, AND AFTER RECORDING
    RETURN TO:

    PENDER jAPITAL
    11766 wulhlre  Blvd
    Sulte4§d
    Los Aooeles, CA 90025
    Attn~-COry Johnson
      ✓


    Tax Paroel Number(s): 170002200000000402 and
    170002200000000401
                                                                                                   Space Above for Recorder's Use

                                                MORTGAGE,
                                ASSIGNMENT OF RENTS AND SECURITY AGREEMENT
                                                            (NEW JERSEY)

                A.     THIS MORTGAGE, ASSIGNMENT OF RENTS ANO SECURITY AGREEMENT {\his "Instrument") ls dated
    as of March !i, 2018, and is given by EVERGREEN PLAZA ASSOCIATES LLC, a New Jersey llmfted llablllty company,
    EVERGREEN I ASSOCIATES LLC, a New Jersey limited liability company, EVERGREEN ll ASSOCIATES LLC,
    a New Jersey llmlted liability company, and EVERGREEN Ill ASSOCIATES LLC, a New Jersey limited liability company,
    whose address is 477 Colonial Rd., Ridgewood, NJ 07450, collectively as mortgagor Oolnlly and severally referred to herein In
    the singular as •Borrower"), in favor of PENDER CAPITAL ASSET BASED LENDING FUND I, LP, a Delaware limited
    partnership, whose address Is 11766 Wilshire Blvd, Suite 460, Los Angeles, CA 90025, Attn: Loan Servicing, as mortgagee
    {"Lender'). EVERGREEN PLAZA ASSOCIATES LLC's organizational ldentlficaUon number is 040D053759. EVERGREEN I
    ASSOCIATES LLC's organizational fdentiflcation number Is 0400053761. EVERGREEN II ASSOCIATES LLC's organizational
    identification number is 0400053765. EVERGREEN Ill ASSOCIATES LLC's organizational Identification number Is
    0400053855.
               B.       Borrower Is indebted to Lender in the principal amount of SIX MILLION FIVE HUNDRED THOUSAND ANO
    00/f 00 DOLLARS (US $6,500,000.00), as evidenced by Borrower's Promissory Nole payable to Lender, dated as of the date of
    thls Instrument, and maturing on the earlier of (I) April f, 2019, and (Ji) the date on which the unpaid prlncipal balance of the
    Note becomes due and payable by acceleration or otherwise pursuant lo the Loan Documents or the exercise by Lender of any
    right or remedy under any Loan Document {the "Maturity Date"). The Maturity Date of the Note ls subject to extension up to
    April 1, 2020, upon the terms and condiflons set forth ln the Note.
               C.       TO SECURE TO LENDER the repayment of the Indebtedness, and all renewals, extensions and
    modifications of the Indebtedness, and the performance of \he covenants and agreements of Borrower contained lo the Loan
    Documents, Borrower mortgages, warrants, grants, conveys and assigns to Lender, the Mortgaged Property, Including !he land
    located in Burllngton County, State of New Jersey and described in Exhibit "A" attached to this Instrument.


    New Jersey Mortgage




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                   D.        Borrower represents and warrants that Borrower is lawfully seized of the Mortgagetl Property and has the
       right, power and authority to mortgage, grant, convey and assign the Mortgaged Property, and that the Mortgaged Property is
       unencumbered except as shown on the Schedule of Tl\le Exceptions. Borrower covenants that Borrower wlll warrant and defend
       generally the title to the Mortgaged Property against an claims and demands, subject to any easements and restrictions listed in
       the Schedule of TlUe Exceptions.
       Covenants. In consideration of the mutual promises set forth In this Instrument, Borrower and Lender covenant and agree as
       follows:
                   1.        DEFINITIONS. The following terms, when used In this Instrument {!ncludlng when used In the above
       recltals}, shall have the following meanings:
                   (a)       'Assignment• means, collectively, the provisions of SecUons 3 and 4 of this Instrument relating to the
       assignment of rents and leases affecting the Mortgaged Property.
                   {b)       "Attorneys' Fees and Coats" means (I) fees and out-of-pocket costs of Lender's and Loan Servlcer's
       attorneys, as applicable (whether or not any lawsuit or other proceeding Is Instituted), including casts of Lender's and Loan
        Servicers allocable costs of In-house counsel, support staff costs, casts of preparing for litigation, computerized research,
       telephone and facslmlle transmission expenses, mileage, deposition costs, postage, duplicating, process service, videotaplng
        and similar costs and expenses; (II) costs and fees of expert witnesses, lncludlng appraisers; and {iii) invesUgatory fees. As used
       In this Instrument and in the Nole, •Attorneys' Fees and Costs" shall Include those awarded by an appellate court
                   (c)        "Bankruptcy Code" means the United States Bankruptcy Code, 11 U.S.C. SeoUon 101 ~.• as amended
        from time to time.
                   (d}        "Borrower" means, jointly and severally, all Persons identified as 'Borrower" In paragraph A of this
        lnstrumen~ together with thetr successors and assigns.
                   {e)     · "Borrower Certificate• means that certain Borrower Certificate dated the same date as this lnstrumen~
        executed by Borrower In favor of Lender.
                    (Q        •collateral Agreemenf' means any separate agreement between Borrower and Lender for the purpose of
        establishlng replacement reserves for the Mortgaged Property, establishing a fund to assure the completion of repairs or
        Improvements speclfled In lhat agreement, or assuring reduction of the outstanding principal balance of the Indebtedness If the
        occupancy of or income from the Mortgaged Property does not increase to a level specified in that agreement, or any other
        agreement or agreements between Borrower and Lender which provide for the establlshmenl of any other fund, reserve or
        account
                    (g}       "Controlling Entity" means an entity which owns, direcUy or Indirectly through one or more Intermediaries,
         (A) a general partnership interest or a Controlling Interest of the llmlted partnership interests In Borrower (if Borrower Is a
         partnership or Joint venture), (8) a manager's Interest In Borrower or a Controlling Interest of !he ownership or membership
         Interests in Borrower {if Borrower is a limHed llability company), or (C) a Controlling Interest of any class of voting stock of
         Borrower (if Borrower is a corporaUon).
                    (h)       •controlling Interest• means (I) 51 percent or more of the ownership interests in an entity, or (ii) a
         percentage ownership Interest In an entity of less than 51 percent, If the owner(s) of that interest actually direct(s) the business
         and affairs of the enUty without the requirement of consent of any other party.
                    (i}       "Environmental Indemnity" means that certain Environmental Indemnity Agreement dated the same date
         as this Instrument executed by Borrower, as !ndemnitor, in favor of Lender, as lndemnltee.
                    0)        •environmental Permit" means any permit license, or other authorization issued under any Hazardous
         Materials Law with respect to any activities or businesses conducted on or in relation to the Mortgaged Property.
                    (k}       "Event of Default' means the occurrence of any event listed in Section 22.
                     (I)      •Fixtures• means all property owned by Borrower which is so attached to the Land or the Improvements as
         to constitute a fixture under applicable law, Including: machinery, equipment engines, boilers, Incinerators, Installed buffding
         materials: systems and equipment for the purpose of supplying or distributing heating, cooling, electJicity, gas, water, air, or light;
         antennas, cable, wiring and conduits used in connection with radio, television, security, fire prevention, or fire detection or
         otherwise used to carry electronic signals; telephone systems and equipment elevators and related machinery and equipment;
         fire detection, prevention and exUngu!shing systems and apparatus; security and access control systems and apparatus;
         plumbing systems; water heaters, ranges, stoves, microwave ovens, refrigerators, dishwashers, garbage disposers, washers,
          dryers and other appliances; fight fixtures, awnings, storm windows and storm doors; pictures, screens, blinds, shades, curtains



        New Jersey Mortgage                                                                                                             Page2




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        and curtain rods; mirrors; cabinets, paneling, rugs and floor and wall coverings; fences, trees and plants; sWimmlng pools~ and
        exercise equipment.
                    (m}       "Governmental Authority" means any board, commission, department or body of any munlolpal, county,
        state or federal governmental unit, or any subdivision of any of them, that has or acquires jurisdiction over the Mortgaged
        Property or the use, operaUon or improvement of the Mortgaged Property or over Borrower.
                    {n)       "Guarantor" means each guarantor Identified in that certain Guaranty dated the same date as this
        Instrument as well as any other or future guarantor of all or any portion of the Indebtedness.
                    (o)       "Guaranty• means that certain Guaranty dated the same dale as this Instrument, and each and every other
        guaranty executed by any Guarantor In favor of Lender.
                    (p)       "Hazardous Materials" means petroleum and petroleum products and compounds containing \hem,
        including gasoline, diesel fuel and oil; explosives; flammable materials; radioactive materials; polychlorinated biphenyls ('PCBs")
        and compounds containing them; lead and lead-based paint; asbestos or asbestos-containing materials in any form that is or
        could become friable; underground or above-ground storage tanks, whether empty or containing any substance; any substance
        the presence of which on the Mortgaged Property ls prohibited by any faderal, state or local authority; any substance that
        requires special handling; and any other material or substance now or in the fulure defined as a •hazal'dous substance,•
        "hazardous material," "hazardous waste,• "toxic substance,• "toxic pollutan~• •contaminant• or •pollutanr wllhln the meaning of
        any Hazardous Materials Law.
                    (q)       "Hazardous Materials Laws• means all federal, state, and local laws, ordinances and regulations and
        standards, rules, policies and other governmental requirements, administrative rulings and court judgments and decrees in effect
        now or In the future and including all amendments, that relate to Hazardous Materials or the protection of human health or the
        environment and apply to Borrower or to the Mortgaged Property. Hazardous Materials Laws Include, but are not limited to, the
         Federal Water Pollution Control Act, 33 U.S.C. Section 1251 et seq., the Comprehensive Environmental Response,
         Compensation and Llablllty Act, 42 U.S.C. Section 9601, et seq.• as amended by the Superfund Amendments Reauthorization
        Act of 1986, the Materials Transportation Act, 49 U.S.C. Section 1801 et seq., the Resource Conservation and Recovery Act, 42
         U.S.C. Section 6901, et seq., the Toxic Substance Control Act, 15 U.S.C. Section 2601, et seq., fhe Clean Water Act, 33 U.S.C.
         Section 1251, et seq., the Emergency Planning and Community Right-to-Know Act of 1986, as amended, the Solld Waste
         Disposal Act, as amended, the Clean Air Act as amended, the Safe Drinking Water Act, as amended, the OccupaUonal Safety
         and Health Act, as amended, and the Hazardous Materials Transportation Ac~ 49 U.S.C. SecUon 5101, and their state analogs.
                     (r)       "Impositions• and "Imposition Deposits• are defined In Section 7(a).
                     (s)       "Improvements• means fue buildings, structures, Improvements, and alterations now constructed or at any
         time In the future constructed or placed upon the Land, including any future replacements and additions.
                     (t}       "Indebtedness• means 1he principal of, interest on, and all other amounts due at any time under, the Note,
         this Instrument or any other Loan Document, lncludlng late charges, default interest, and advances to protect the security of this
         Instrument under Section 12 of this Instrument or any other applicable provision of this Instrument or any other Loan Document
         or as permitted by law.
                     (u)       "Initial Owners• means, with respect to Borrower or any other entity, the Person(s) that (i) on the date or the
         Note, or (ii) on the date of a Transfer to which Lender has consented, own In the aggregate 100% of the ownership Interests in
         Borrower or that entity,
                     (v)       'Land' means the land described In Exhibit "A".
                     (w)       'Leases• means all present and future leases, subleases, licenses, concessions or grants or other
         possessory interests now or hereafter In force, whether oral or written, covering or affecting the Mortgaged Property, or any
         portion of the Mortgaged Property, and all modifications, extensions or renewals.
                     {x)       "Lendef means the Person or Persons identified as "lender" in paragraph A of lhis Instrument, or any
         subsequent holder of the Note.
                     (y)       "Loan" means the loan evidenced by the Note and secured by this Instrument
                     (z}       "Loan Documents• means the Note, this lnstrumen~ the Assignment, the Borrower Certificate, the
         Environmental Indemnity, all guaranties, all Indemnity agreements, all Collateral Agreements, O&M Plans, and any other
         documents now or in the future executed by Borrower, any Guarantor or any other Person In connection With the Loan, as such
         documents may be amended from time to time.
                      (aa)     "Loan Servicer'. means the Person or Persons that from time to time is designated by Lender to collect
         payments and deposits and receive notices under the Nole, this Instrument and any other Loan Document, and olheiwise to

         New Jersey Mortgage                                                                                                          Page3




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   service the Loan for the benefit of Lender. Unless otherwise specified in Section 2 of the Note, or unless Borrower receives
   noUce to the contrary, the Loan Servicer means the Person or Persons ldenUfied as "Lender• in paragraph A of this Instrument.
                (bb)       "Mortgaged Property" means all of Borrower's present and future right, title and interest in and to all of the
   foltowing: (1) the land; (2) the Improvements; {3) the Rx\ures; (4) \he Personalty; (5) all current and future rlghts, Including air
   rights, development rights, zoning rights and other simllar rights or Interests, easements, tenements, rights-of-way, strips and
   gores of land, streets, alleys, roads, sewer rights, waters, watercourses, and appurtenances related to or beneflllng the Land or
   the Improvements, or both, and aH rights-of-way, streets, alleys and roads which may have been or may in the future be vacated;
   (6) all proceeds paid or to be paid by any insurer of the Land, the Improvements, the Fixtures, the Personally or any other part of
   the Mortgaged Property, whether or not Borrower obtained the Insurance pursuant to Lender's requirement (7) all awards,
   payments and other compensation made or to be made by any municipal, state or federal authority with respect to Iha land, the
    Improvements, the Fixtures, the Personalty or any other part of the Mortgaged Property, including any awards or settlements
   resulting from condemnaUon proceedings or the total or partial taking of the Land, the Improvements, the Fixtures, the Personalty
   or any other part of the Mortgaged Property under the power of eminent domain or otherwise and including any conveyance in
    lieu thereof; (8) all contracts, options and other agreements for the safe of the Land, the Improvements, the Fixtures, the
    Personalty or any other part of the Mortgaged Property entered into by Borrower now or In the future, including cash or securlffes
   deposited to secure performance by parties of their obliga~ons; (9) au proceeds from the conversion, voluntary or involuntary, of
    any of the above into cash or liquidated claims, and the right to collect such proceeds; (10) all Rents and Leases; (11) all
    earnings, royalties, accounts receivable, Issues and proflts from the land, the Improvements or any olher part of the Mortgaged
    Property, and all undisbursed proceeds of the Loan; (12} all funds on deposit pursuant to any separate agreement between
    Borrower and Lender (including, without limltaUon, all lmposiHon Deposits) for the purpose of eslab!lshing replacement reserves
    for the Mortgaged Property, to fund any water and sewer charges, premiums for lire or other hazard Insurance, rent loss
    Insurance or other Insurance required by Lender, taxes, assessments, vault rentals, or other charges or expenses required by
    Lender to protect the Mortgaged Property, establishing a fund to assure the completion of repairs or improvements specified In
     that agreement, or assuring reduction of the outstanding prlnclpal balance of the Indebtedness If the occupancy of or income
     from the Mortgaged Property does not increase to a lever specified In that agreement, or any other agreement or agreements
     between Borrower and Lender which provide for the establishment of any other fund, reserve or account (13) all refunds or
     rebates of lmposltions by any municipal, state or federal authority or insurance company (other than refunds applicable to
    periods before the real property tax year in which this Instrument is dated): (14) all tenant security deposits which have not been
     forfeited by any tenant under any Lease and any bond or other security In lieu of such deposits; and (15) all names under or by
     which any of the above Mortgaged Property may be operated or known, and all trademarks, trade names, and goodwill relating
     to any of the Mortgaged Property.
                 (cc)       "Mortgaged Property UCC Collateral" means any of the Mortgaged Property which, under applicable law,
     may be subjected to a security Interest under !he Uniform Commercial Code, whether such Mortgaged Property Is owned now or
     acquired in the future, and an products and cash and non-cash proceeds \hereof.
                 (dd)       "Note• means the Promissory Note described In paragraph B of !his Instrument, Including all schedules,
     riders, allonges and addenda, as such Promissory Note may be amended from Ume to time.
                 (ee)       •o&M Plan" shall have the meaning as defined ln the Environmental lndemnil.y.
                 (ff)       "Person• means any natural person, sole proprietorship, corporation, general partnership, ltmlted
     partnership, limited liablllty company, limited liability partnership, limited /labllily llmlted partnership, joint venture, association,
     joint stock company, bank, trust, estate, unirn:orporated organizaUon, any federal, state, county or municipal government {or any
     agency or political subdivision thereof), endowment fund or any other form of entity.
                 (gg)       "Personalty" means all: (I) accounts (Including deposit accounts); (ii) equipment and Inventory owned by
      Borrower which are used now or In the future In connection with the ownership, management or operaUon of the Land or the
      Improvements or are located on !he Land or in the Improvements, including furniture, furnishings, machinery, building materials,
      appliances, goods, supplies, tools, books, records (whether In written or electronic form), computer equipment (hardware and
      software); (iii) other tangible personal property {other than Fixtures) which are used now or In the future in connectlon wllh the
      ownership, management or operation of the Land or the Improvements or are located on the Land or in the Improvements; {Iv)
      any operating agreements relaUng to !he Land or the Improvements; (v) any surveys, plans and specifications and contracts for
      architectural, engineering and construction services relating to the Land or the Improvements; (vi) all other !ntanglble property
      and rights relating to the operation of, or used in connection with, the Land or the Improvements, Including all governmental


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    permits relating to any activities on the Land or \he Improvements and Including subsidy or similar payments received from any
    sources, Including a Governmental Authority; and (vii) any rights of Borrower in or under letters of credit.
                (hh)      "Property Insurance• ls defined In Section 19.
                (ii)      'Property Jurisdiction• is defined in Section 30(a}.
                OJ)       "Rentsn means all rents. revenues and other income of the Land or the Improvements, Including parking
    fees, laundry and vending machine Income and fees and charges for other services provided at the Mortgaged Property, whether
    now due, past due, or to become due, and deposits forfeited by tenants.
                (kk)      "Schedule of Title Exceptions• means title exceptions approved by Lender and shown In the schedule of
    exceptions to coverage in the title policy Issued to Lender contemporaneously with the recordation of this Instrument and Insuring
    Lendefs interest in the Mortgaged Property.
                (II)      "Taxes• means all taxes, assessments, vault rentals and other charges, If any, general, special or otherwise,
    Including all assessments for schools, public betterments and general or local improvements, which are levied, assessed or
    Imposed by any public authority or quasi-public authority, and which, If not paid, will become a lien, on the Land or the
    Improvements.
                (mm)      "Transfer" is defined in Section 21.
                2.         UNIFORM COMMERCIAL CODE SECURITY AGREEMENT.
                (a)       This Instrument is also a security agreement under the Uniform Commercial Code for the Mortgaged
    Property UCC Collateral, and Borrower, as debtor, hereby grants to Lender, as secured party, a security interest in the
    Mortgaged Property UCC Collateral. Borrower hereby aulhotizes Lender to prepare and file financing statements, continuation
    statements and financing statement amendments In such form as Lender may require to perfect or continue the perfection of this
    security Interest and Borrower agrees, If Lender so requests, to execute and deliver to Lender such financing statements,
    continuation statements and amendments. Without limiting the generality of the foregoing, Borrower authorizes Lender to file
     any financing statement that describes the collateral as "all assets• of Borrower, or words to similar effect Borrower shall pay all
     filing costs and all costs and expenses of any record searches for financing statements and/or amendments that Lender may
     require. Without the prior written consent of Lender, Borrower shall not create or permit to exist any other lien or security interest
     In any of the Mortgaged Property UCC Collateral. Unless Borrower gives notice to Lender within 30 days after the occurrence of
     any of the following, and executes and delivers to Lender modifications or supplements of this Instrument {and any financing
    statement which may be filed In connection with this Instrument} as Lender may require, Borrower shall not {l} change Its name,
     identity, structure or jurisdiction of organization; (ii) change the location of Its place of business (or chief executive office If more
     than one place of business); or (iii} add to or change any location at which any of the Mortgaged Property UCC Collateral Is
     stored, held or located. If an Event of Default has occurred and Is continuing, Lender shall have the remedies of a secured party
     under the Uniform Commercial Code, In addition to all remedies provided by this Instrument or existing under applicable law. In
     exercising any remedies, lender may exercise its remedies against the Mortgaged Property UCC Collateral separately or
     together, and in any order, without In any way affecting the availabillty of Lender's other remedies. This Instrument constitutes a
     financing statement with respect to any part of the Mortgaged Property that Is or may become a FlKture, if permitted by
     applicable law.
                 3.        ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIVER; LENDER IN POSSESSION.
                 {a)       As part of the consideration for the Indebtedness, Borrower absolutely and unconditionally assigns and
     transfers to Lender all Rents. It Is the Intention of Borrower to establish a present, absolute and irrevocable transfer and
     assignment to Lender of all Rents and to authorize and empower Lender to collect and receive all Rents without the necessity of
     further action on the part of Borrower. Promptly upon request by Lender, Borrower agrees to execute and deliver such further
      assignments as Lender may from time to time require. Borrower and Lender intend this assignment of Rents to be Immediately
     effective and to constitute an absolute present assignment and not an assignment for additional security only. For purposes of
     giving effect to this absolute assignment of Rents, and for no olher purpose, Rents shall not be deemed to be a part of the
      "Mortgaged Property• as that term is defined in Section 1. However, if this present, absolute and unconditional assignment of
     Rents is not enforceable by its terms under the laws of the Property Jurisdiction, then the Rents shall b& Included as a part of the
     Mortgaged Property and it is the Intention of Borrower that in this circumstance this Instrument create and perfect a lien on Rents
     In favor of Lender, which Hen shall be effec1lve as of lhe date of this Instrument.
                 (b)       After the occurrence of an Event of Default, Borrower authorizes Lender to collect, sue for and compromise
     Rents and directs each tenant of the Mortgaged Property to pay all Rents to, or as directed by, Lender. However, until the
     occurrence of an Event of Default lender hereby grants to Borrower a revocable license to collect and receive all Rents, to hold

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    all Rents in trust for the benefit of Lender and to apply all Rents to pay the installments ot Interest and principal then due and
    payable under the Note and the other amounts then due and payable under Iha other Loan Documents, Including Imposition
    Deposits, and to pay the current costs and expenses of managing, operatlng and maintaining the Mortgaged Property, Including
    utilities, Taxes and Insurance premiums (to the extent not included In Imposition Deposits), tenant improvements and other
    capital expenditures. So long as no Event of Default has occurred and Is continuing, the Rents remaining after application
    pursuant lo the preceding sentence may be retained by Borrower free and clear of, and released from, Lender's rights with
    respect to Rents under this Instrument From and after \he occurrence of an Event of Default, and wllhout the necessity of
    Lender entering upon and taking and maintaining control of the Mortgaged Property directly, or by a receiver, Borrower's license
    to collect Rents shall automatically terminate and Lender shall without notice be entiHed to all Rents as they become due and
    payable, Including Rents then due and unpaid. Borrower shall pay to Lender upon demand all Rents to whleh Lender Is entitted.
    At any Ume on or after the date of Lender's demand for Rents, Lender may give, and Borrower hereby Irrevocably authorizes
    Lender to give, notice to all tenants of the Mortgaged Property instructing them to pay all Rents to Lender, no tenant shall be
    obligated to inquire further as to the occurrence or continuance of an Event of Oefaul~ and no tenant shall be obligated to pay to
    Borrower any amounts which are ~tually paid to Lender In response to such a nolfce. Any such nottce by Lender shall be
    delivered lo each tenant personally, by mail or by delivering such demand to each rental unit. Borrower shall not Interfere with
    and shall cooperate with lender's collectlon of such Rents.
                (c)       Borrower represents and warrants to Lender that Borrower has not executed any prior assignment of Rents
    (other than an assignment of Rents securing indebtedness that wlll be paid off and discharged with the proceeds of the Loan),
    that Borrower has not performed, and Borrower covenants and agrees \hat It wlll not perform, any aots and has not executed,
    and shall not execute, any Instrument whlch would prevent Lender from exercising Its rights under this Section 3, and that at the
     time of execution of !his Instrument there has been no anticipation or prepayment of any Rents for more than one (1) month prior
     to the due dates of such Rents. Borrower shall not collect or accept payment of any Rents more than one (1) month prior to lhe
    due dates of such Rents.
                 (d)       If an Event of Default has occurred and is continuing, Lender may, regardless of the adequacy of Lender's
    security or the solvency of Borrower and even In the absence of waste, enter upon and take and maintain full control of the
    Mortgaged Property in order to perform all acts that Lender in its discretion determines to be necessary or desirable for the
     operation and meilntenance of the Mortgaged Property, lncluding the execution, cancellafion or modification of Leases, the
     collection of all Rents, the making of repairs to the Mortgaged Property and the execution or termination of contracts providing for
     the management operation or maintenance of the Mortgaged Property, for the purposes of enforcing the assignment of Rents
     pursuant to Section 3(a}, protecting lhe Mortgaged Property or the security of this Instrument, or for such other purposes as
     Lender In its discretion may deem necessary or desirable. Alternatively, if an Event of Default has occurred and is continuing,
     regardless of the adequacy of Lender's security, without regard to Borrower's solvency and without Iha necessity of giving prior
     notlce {oral or written) to Borrower, Lender may apply to any court having jurisdiction for the appointment of a receiver for the
     Mortgaged Property to take any or all of the actlons set forth in the preceding sentence. If Lender elects to seek the appointment
     of a receiver for the Mortgaged Property at any time after an Event of Default has occurred and is conttnulng, Borrower, by Us
     execution of this Instrument expressly consents to Iha appointment of such receiver, Including the appointment of a receiver ex
     parte If pennitted by applicable law. Lender or the receiver, as the case may be, shall be enUUed to receive a reasonable fee for
     managing the Mortgaged Property. Immediately upon appointment of a receiver or Immediately upon Lender's entering upon
     and taking possession and control of the Mortgaged Property, Borrower shall surrender possession of the Mortgaged Property to
     Lender or the receiver, as the case may be, and shall deliver to Lemler or the receiver, as 1he case may be, all documents,
     records (Including computer files and other records on electronic or magneUc media), accounts, surveys, plans, and
     specifications relaUng to the Mortgaged Property and all security deposits and prepaid Rents. In the event Lender takes
     possession and control of the Mortgaged Property, lender may exclude Borrower and Its representatives from 1he Mortgaged
      Property. Borrower acknowledges and agrees that the exercise by Lender of any of the rights conferred under this Section 3
      shall not be construed to make Lender a mortgagee-in-possession of the Mortgaged Property so long as Lender has not Itself
      entered Into actual possession of the Land and Improvements.
                 (e)        If Lender enters the Mortgaged Property, Lender shall be liable to account only to Borrower and only for
      those Rents actually received. Lender shall not be liable to Borrower, anyone claiming under or through Borrower or anyone
      having an Interest in the Mortgaged Property, by reason of any act or omission of lender under this Section 3, and Borrower
      hereby releases and discharges Lender from any such liability to the fullest extent permitted by law.


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                (f)        If the Rents are not sufficient to meet the costs of taking control of and managing lhe Mortgaged Property
     and collecting the Rents, any funds expended by Lender for such purposes shall become an additional part of lhe Indebtedness
     as provided in Section 12,
                (g)        Any entering upon and taking of control of the Mortgaged Property by Lender or the receiver, as the case .
     may be, and any appUcatlon of Rents as provided in this Instrument shall not cure or waive any Event of Default or invalidate any
     other right or remedy of Lender under applicable law or provided for In this Instrument
                4.         ASSIGNMENT OF LEASES; LEASES AFFECTING THE MORTGAGED PROPERTY.
                (a)        As part of the consideration for the Indebtedness, Borrower absolutely and unconditionally assigns and
     transfers to Lender all of Borrower's right, title and interest In, to and under the Leases, including Borrower's right, power and
     authorlty to modify the terms of any such Lease, or extend or terminate any such Lease. It is the intention of Borrower to
     establish a present, absolute and irrevocable transfer and assignment to Lender of all of Borrower's right, titie and interest in, to
     and under the Leases. Borrower and Lender Intend this assignment of the Leases to be immediately effective and to constitute
     an absolute present assignment and not an assignment for additional security only. For purposes of giving effect to this absolute
     assignment of the Leases, and for no other purpose, tile Leases sha!I not be deemed to be a part of the "Mortgaged Property" as
     that term is defined in Section 1. However, If this present absolute and unconditional assignment of the Leases Is not
     enforceable by lts terms under the laws of the Property Jurisdiction, then the Leases shall be included as a part of the Mortgaged
     Property and It Is the Intention of Borrower that In this circumstance this Instrument create and perfect a lien on the Leases In
     favor of Lender, which lien shall be effective as of the date of this Instrument.
                 (b)       Until Lender gives nottce to Borrower of Lender's exercise of Its rights under this Section 4, Borrower shall
     have all tights, power and authority granted to Borrower under any Lease (except as otherwise limited by this Section 4 or any
     other provision of this Instrument), including the rtght, power and authority to modify the terms of any lease or extend any Lease.
     In no event, however, shall Borrower have the right to terminate any lease or to modify the terms of any lease so as to decrease
     the rent or shorten the term of the lease without the prior written consent of Lender. Any purported termination or modification of
     any lease without lender's prior written consent in violaUon of the preceding sentence shall constitute an Event of Default and
     shall be void and of no force or effecl Upon the occurrence of an Event of Default, the permission given to Borrower pursuant to
     the first sentence of this Section 4(b) to exercise rights, power and authority under leases shall automatically terminate,
     Borrower shall comply with and observe Borrower's obligations under all Leases, including Borrower's obligations pertaining to
     the maintenance and dlsposltton of tenant security deposits.
                 (c)        Borrower acknowledges and agrees that the exercise by Lender, either dlrecUy or by a receiver, of any of the
      rights conferred under this Section 4 shall not be construed to make Lender a mortgagee-in-possession of the Mortgaged
      Property so long as Lender has not itself entered Into actual possession of the Land and the Improvements. The acceptance by
      Lender of the assignment of the Leases pursuant to Section 4{a} shall not at any time or in any event obligate lender to take any
      acfion under this Instrument or to expend any money or to incur any expenses. Lender shall not be liable in any way for any
      injury or damage to person or property sustained by any Person In or about the Mortgaged Property. Prior to Lender's actual
      entry into and taking possession of the Mortgaged Property, Lender shall not (I) be obllgated lo perform any of the terms,
      covenants and condiUons contained in any Lease {or otherwise have any obligation with respect to any Lease); (II) be obligated
      to appear in or defend any action or proceeding relating to the Lease or the Mortgaged Property; or (Iii) be responsible for the
      operation, control, care, management or repair of the Mortgaged Property or any portion of the Mortgaged Property. The
      executlon of this Instrument by Borrower shall constitute conclusive evidence that all responsibility for the operation, control,
      care, management and repair of the Mortgaged Property Is and shall be that of Borrower, prior to such actual entry and taking of
      possession.
                 (d}        Upon delivery of notice by Lender to Borrower of Lender's exercise of Lender's rights under this Section 4 at
      any lime after the occurrence of an Event of Default and without the necessity of Lender entering upon and taking and
      maintaining control of the Mortgaged Property directly, by a receiver, or by any other manner or proceeding permitted by the laws
      of lhe Property Jurisdiction, Lender Immediately shall have all rights, powers and authority granted to Borrower under any Lease,
      including the right, power and authority to modify the terms of any such Lease, or extend or terminate any such Lease.
                 (e)        Borrower shall, promptly upon Lender's request, deliver to Lender an executed copy of each Lease then in
      effect.
                  (f}       Borrower further covenants with Lender that {Q all Leases shall be written on a standard form of lease that
      has been or will be approved in writlng in advance by Lender; (li) upon request, Borrower shall furnish Lender with executed
      copies of all Leases and all amendments thereto; (iii) no material changes may be made to the Lender-approved standard lease

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     without the prior written consent of Lender; (Iv) all renewals of Leases and all proposed Leases shall provide for rental rates
     comparable to existing local market rates and shall be arm's-length transactions; {V) all Leases shall provide that (A) they are
     subordinate to this Instrument and any other indebtedness now or hereafter secured by the Mortgaged Property, (B) lessees
     agree to altom to Lender (such attomment to be effective upon Lender's acquisitton of tiUe to the Mortgaged Property), (C)
     lessees agree to execute such further evidences of attomment as Lender may from time to 6me reques~ (D) the attomment of
     lessees shall not be terminated by foreclosure, (E) Lender may, at Lendefs option, accept or reject such attomment, and (F)
     lessees agree to execute and acknowledge a subordination, attomment and non-disturbance agreement In form and content
     acceptable lo Lender, and, two times In any calendar year, as Lender may request, a certificate signed by lessee confirming and
     containing such factual certifications and representations deemed appropriate by Lender; (vi) Borrower shall not grant any
     purchase options without the prior written approval of Lender; and {vii} all new Leases shall be subject to the prior written
      approval of Lender.
                 (g)       Borrower shall not receive or accept Rent under any Lease for more than one (1) month in advance.
                 5.         PAYMENT OF INDEBTEDNESS; PERFORMANCE UNDER LOAN DOCUMENTS. Borrower shall pay the
      Indebtedness when due in accordance with the terms of the Note and the other Loan Documents and shall perform, observe and
     comply with all other provisions of the Note and the other Loan Documents.
                 6.         FULL RECOURSE PERSONAL LIABILITY. Borrower shall have full recourse personal liability under the
     Note, this Instrument and all other Loan Documents for the repayment of the Indebtedness and for the performance of any and
      all other obligations of Borrower under the Note, this Instrument and all other Loan Documents.
                 7.         DEPOSITS FORTAXES, INSURANCE AND OTHER CHARGES.
                 (a)        Unless this requirement is waived in writing by Lender, or as otherwise provided in this Section, Borrower
      shall deposit with Lender on the day monthly Installments of principal or interest, or both, are due under the Note (or on another
      day designated in wrlting by Lender), until the Indebtedness ls paid in full, an additlonal amount estimated by Lender to be
      sufficient to accumulate with Lender the enUre sum required to pay, when due, the Items marked 'COLLECr' below, plus, at
      Lendefs discretion, a contingency reserve of up to one-sixth of such estimate. Lender will not Initially require Borrower to make
      lmposUlon Deposlts with respect to any items marked •DEFERRED• or "NOT APPLICABLE' below.
                  [COLLECT]                     Property Insurance premiums or other Insurance premiums required by Lender
                                                under Section 19
                 {COLLECT}                      Taxes
                  [DEFERRED]                    water and sewer charges (that could become a lien on the Mortgaged
                                                Property)
                  [DEFERRED]                    assessments or olher charges (that could become a lien on the Mortgaged
                                                Property)
      The amounts deposited under the preceding sentence are collectively referred to in this Instrument as the
      •1mposltlon Deposits". The obligations of Borrower for which the Imposition Deposits are required are colleclively referred to In
      this Instrument as "Impositions•, The amount of the lmposlUon Deposits shall be sufficient to enable Lender to pay each
       lmposltlcm before the last date upon Which such payment may be made without any penalty or interest charge being added.
       lender shall maintain records indicating how much of the monthly Imposition Deposits and how much of the aggregate
       Imposition Deposits held by Lender are held for the purpose of paying Taxes, insurance premiums and each other Imposition.
                  (b)       lmposlUon Deposits shall be held by Lender or in a bank, credit union or other financial insUtution designated
       by Lender. Lender shall apply the Imposition Deposits to pay Impositions so long as no Event of Default has occurred and ls
       continuing. Unless applicable law requires, Lender shall not be required to pay Borrower any interest, earnings or profits on the
       lmposlUon Deposits. As additional security for all of Borrower's obligations under this Instrument and the other Loan Documents,
       Borrower hereby pledges and grants to Lender a security interest In the lmposlUon Deposits and all proceeds of, and all Interest
       and dividends on, the Imposition Deposits. Any amounts deposited with Lender under this Section 7 shall not be trust funds, nor
       shall they operate to reduce the Indebtedness, unless applied by Lender for that purpose under Section 7(e).
                   (c}      If lender receives a bill or lnvolce for an lmposllion, Lender shall pay the Imposition from the lmposltlon
       Deposits held by lender. lender shall have no obligation to pay any Imposition to the extent it exceeds Imposition Deposits then
       held by Lender. Lender may pay an lmposiUon according to any bill, statement or estimate from the appropriate public office or
       Insurance company w!thout Inquiring into the accuracy of the bill, statement or estimate or into the validity of the Imposition.
                   (d)       If at any time the amount of the Imposition Deposits held by Lender for payment of a specific lmposltion
       exceeds the amount reasonably deemed necessary by Lender, plus at Lender's discretion, a contingency reserve of up to one-

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    sixth of such estimate, the excess shall be credited against future installments of lmposiUon Deposits. If at any time the amount
    of the Imposition Deposits held by Lender for payment of a specific Imposition is less than lhe amount reasonably estimated by
    Lender to be necessary, plus, at lender's discretion, a contingency reserve of up to one-sixth of such estlmale, Sorrower shall
    pay to Lender the amount of the deficiency within 15 days after notice from Lender.
               (e)        If an Event of Default has occurred and ls continuing, Lender may apply any lmpos!Uon Deposits, ln any
    amounts and in any order as Lender determines, In Lender's discretion, to pay any Impositions or as a credit against the
    Indebtedness. Upon payment In full of the Indebtedness. Lender shall refund to Borrower any Imposition Deposits held by
    Lender.
               (Q         If Lender does not collect an Imposition Deposit with respect to an Imposition either marked "DEFERRED" lri
    Secllon 7{a) or pursuant to a separate written waiver by Lender, then at least thirty (30) days before the date each such
    Imposition is due, or on the dale this Instrument requires each such Imposition to be paid, Borrower must provide Lender wllh
    proof of payment of each such Imposition for which Lender does not require collection of Imposition Deposits. Lender may
    revoke its deferral or waiver and require Borrower to deposit with Lender any or all of the Imposition Oeposlls listed in
    Section 7(a), regardless of whether any such item is marked "DEFERRED" ln such section, upon notice to Borrower, {I) If
    Borrower does not timely pay any of the Impositions as required by this Instrument, (ii} if Borrower fails to provide Umely proof to
    Lender of such payment as required by this Instrument, or (Iii) al any lime from and after the occurrence of an Event of Default or
    any event which, with the giving of noUce or the passage of Hme, or both, would constitute an Event of Default.
                {g)        In the event of a Transfer prohibited by or requiring Lender's approval under Section 21, Lender's waiver or
     deferral of the collection of any Imposition Deposit in this Section 7 may be modified or rendered void by Lender at Lender's sole
     option and discretion by notice to Borrower and the transferee(s} as a condition of Lender's approval of such Transfer.
                8.         COLLATERAL AGREEMENTS. Borrower shall deposit with Lender such amounts as may be required by
     any Collateral Agreement and shall perform all other obligations of Borrower under each Collateral Agreement
                9.         APPLICATION OF PAYMENTS. If at any time Lender receives, from .Borrower or otherwise, any amount
     appllcable to the Indebtedness which is less than all amounts due and payable at such time, then Lender may apply that
     payment to amounts then due and payable In any manner and in any order determined by Lender, in Lender's discretion.
     Neither Lender's acceptance of an amount which is less than all amounts then due and payable nor Lender's application of such
     payment In the manner authorized shall constitute or be deemed to constitute either a waiver of the unpaid amounts or an accord
     and satisfaction. Notwithstanding the application of any such amount to the Indebtedness, Borrower's obligations under this
     Instrument and the Note shall remain unchanged.
                10.        COMPLIANCE WITH LAWS ANO ORGANIZATIONAL DOCUMENTS.
                (a)         Borrower shall comply with all laws, ordinances, regulaHons and requirements of any Governmental Authority
     and all recorded lawful covenants and agreements relating to or affecting the Mortgaged Property, Including all laws, ordinances,
     regulations, requirements and covenants pertaining lo health and safety, construction of improvements on the Mortgaged
     Property, fair housing, zoning and land use, and Leases. Borrower also shall comply with all applicable laws that pertain to the
     maintenance and disposiHon of tenant security deposits.
                 (b)        Borrower shall at all times maintain records sufficient to demonstrate compliance with the provisions of this
    Sec\lon 10.
               {c}        Borrower shall take appropriate measures to prevent, and shall not engage In or knowingly permit, any illegal
    activities at the Mortgaged Property that could endanger tenants or visitors, result in damage to the Mortgaged Property, result In
    forfeiture of the Mortgaged Property, or otherwise materially Impair the lien created by lhis Instrument or Lender's interest in the
    Mortgaged Property. Borrower represents and warrants to Lender that no portion of the Mortgaged Property has been or will be
    purchased with the proceeds of any illegal acHvity.
                (d)       Borrower shall at all times comply with all laws, regulations and requirements of any Governmental Authority
    relaflng to Borrower's formation, continued existence and good standing in !he Property Jurisdiction.
                (e)       If Borrower is not a natural person: (A) Borrower, and any Sub-Entity, shall maintain its existence as long as
    any portion of the Indebtedness remains unpaid; and (B) Borrower shall give written notice to Lender within ten (10) days after
    any dissolution or event triggering dissolution of Borrower or any Sub-Entity (which shall constitute an Event of Default under
    clause {A) of this sentence). As used in this Section 10, "Sub-Entity" shall Include any managing or controlllng entities, Including
    any of the following that is not a natural person: {I) any manager or member of a limited liability company and any Sub-Entity
    thereof, (ii) any general partner of a general or limited partnership or limited Uabllity partnership and any Sub-Entity thereof. To
    the extent not in conflict with the provisions of this Instrument and the other Loan Documents, Borrower shall at all times comply

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    with its organizal'1onal documents, including but not fimlted to Its partnershfp agreement (if Borrower is a partnership), its by-laws
    (If Borrower Is a corporation or housing cooperative corporation or association) or Its operating agreement (If Borrower Is a
    llmlted liabillty company, }oint venture or tenancy-in-common). lf Borrower is not a natural person, then: (A) Borrower shall at all
    times comply with all laws, regulations and requirements of any Governmental Authority relating to Borrower's formation,
    continued existence and good standing In Ute state or commonwealth of Borrower's formation; (B) if the state or commonwealth
    of Borrower's formation Is not the Property Jurisdiction, Borrower shall register or qualify as a foreign entity in the Property
    Jurisdiction and maintain such registration or qualification in good standing; (C) Borrower shall promptly provide Lender with
    copies of any amendments or supplements to Borrower's and any Sub-Entity's organizational documents; and (D) within ten (10)
    days after request by Lender, Borrower shall furnish evidence satisfactory to Lender that Borrower and any Sub-Entity is/are in
    good standing ln lts/thelr state(s) or commonwealth(s} of organization, and, If different, the Property Jurisdiction.
                11.       USE OF PROPERTY. Unless required by applicable law, Borrower shall not (a) except for any change in
    use approved by lender, allow changes ln the use for which all or any part of the Mortgaged Property was being used at the time
     this lnstrumen~ was executed, {b) convert, in whole or In part, any non-residential Income producing units to non-Income
    producing units, (c) initiate or acquiesce in a change in the mnlng ctass!ficatton of the Mortgaged Property, or {d) establish any
     condominium or cooperative regime with respect to the Mortgaged Property. Borrower acknowledges that Lender has not
     agreed to grant any partial releases or reconveyances of any portion of the Mortgaged Property, and that the release and
     reconveyance of the lien of this Instrument shall only be granted by Lender upon full repayment of the Indebtedness.
                12.        PROTECTION OF LENDER'S SECURITY.
                {a)        If Borrower fails to perform any of its obligations under this Instrument or any other Loan Document, or If any
     action or proceeding Is commenced which purports to affect the Mortgaged Property, Lender's security or Lender's rights under
     this Instrument, including eminent domain, Insolvency, code enforcement, c\vi\ or criminal forfeiture, enforcement of Hazardous
     Materials Laws, fraudulent conveyance or reorganizations or proceedings involving a bankrupt or decedent, then Lender at
     Lender's option may make such appearances, disburse such sums and take such actions as Lender reasonably deems
     necessary to perform such obligations of Borrower and to protect Lender's interest, Including {1) payment of fees and out of
     pocket expenses of attorneys, accountants, Inspectors and consultants, (2) entry upon the Mortgaged Property to make repairs
     or secure the Mortgaged Property, (3) procurement of the insurance required by Section 19, (4) payment of amounts which
     Borrower has failed to pay under Sections 15 and 17, and {5) advances made by Lender to pay, satisfy or discharge any
     obligation of Borrower for the payment of money that is secured by a pre-existing mortgage, deed of trust or other lien
      encumbering the Mortgaged Property {a •Prior Lien").
                 (b)       hly amounts disbursed by Lender under this Section 12, or under any other provision of this Instrument !hat
      treats such disbursement as being made under this Section 12, shall be added to, and become part of, the principal component
     of the Indebtedness, shall be immediately due and payable and shall bear Interest from the date of disbursement unUI paid at
      th~ "Default Rate", as defined In the Note.
                 (c)        Nothing in this Section 12 shall require Lender to incur any expense or take any action.
                 13.        INSPECTION. Lender, its agents, representatives, and designees may make or cause to be made entries
      upon and inspections of the Mortgaged Property (Including environmental inspections and tests) during normal business hours,
      or at any olher reasonable time. Borrower shall within five (5) days after written request by Lender provide the name, phone
      number, address and emall address of a contact person for Borrower .or for a property management company managing the
      Mortgaged Property to arrange such inspection. Such contact person shall meet Lender's inspector(s) at the Mortgaged
      Property at the time specified by Lender and shall provide Lender's inspector(s) with access to all areas of !he Mortgaged
      Property as Lender's Inspector's may require to complete such inspectlon. At any time when an Event of Default has occurred
      and is continuing, the cost of such Inspections shall be paid by Borrower upon written demand by Lender and If not paid within
      thirty (30} days after such written demand, and, until pald, shall be added to and constitute a part of the Indebtedness as
      provided in Section 12.
                 14.        BOOKS AND RECORDS; FINANCIAL REPORTING.
                 (a)        Borrower shall keep and maintain at all times at the Mortgaged Property or the management agent's offices,
      and upon Lender's request shall make available at the Mortgaged Property, complete and accurate books of account and
      records (inctud!r.g copies of supporllng bllls and Invoices) adequate to reflect correcUy the operafion of the Mortgaged Property,
      and copies of all written contracts, Leases, and other Jnstruments which affect the Mortgaged Property. The books, records,
      contracts, Leases and other Instruments shall be subject to examination and inspection at any reasonable time by Lender.
                  (b)       Borrower and Guarantor shall furnish to Lender all of the following:

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                       {1)          within one hundred twenty (120} days after 1he end of each fiscal year of Borrower, a statement of
                                    Income and expenses for Borrower's operaUon of the Mortgaged Property for that fiscal year, a
                                    statement of changes In financial position of Borrower relating to the Mortgaged Property for that
                                    fiscal year and, when requested by Lender, a balance sheet showing all assets and liabilities of
                                    Borrower relating to the Mortgaged Property as of the end of that fiscal year,
                          (2)       within one hundred twenty (120) days after the end of each fiscal year of Borrower, and at any
                                    other lime upon Lender's request, a rent schedule for the Mortgaged Property showing the name of
                                    each tenant and for each tenant, the space occupied, 11le lease expiration date, the rent payable
                                    for the current month, the dale through which rent has been paid, and any related Information
                                    requested by Lender;
                          (3)       within one hundred twenty (120) days after the end of each fiscal year of Borrower, and at any
                                    other 11me upon Lender's request an accounting ot all security deposits held pursuant to all
                                     Leases, Including the name of the lnsutution (if any) and the names and identification numbers of
                                    the accounts {if any) in which such security deposits are held and the name of the pemon to
                                     contact at such financial institution, along with any authority or release necessary for Lender to
                                     access Information regarding such accounts:
                          (4)        withfn one hundred twenty (120) days after the end of each fiscal year of Borrower, and at any
                                     other tlme upon Lender's request, a statement that Identifies all owners of any interest In Borrower
                                     and any Controlling Entity and the interest held by each, if Borrower or a Controlling Entity Is a
                                     corporation, all officers and directors of Borrower and the Controlling Entity, and lf Borrower or a
                                     Controlling Entity is a limited liablllty company, all managers who are not members;
                          (5)        upon Lender's request, quarterly income and expense statements for the Mortgaged Property;
                          (6)        upon Lender's request at any lime when an Event of Default has occurred and Is continuing,
                                     monthly income and expense statements for the Mortgaged Property;
                           (7)       within ten (10) days after Lender's request, a current monthly property management report for the
                                     Mortgaged Property, showing the number of inquiries made and rental applications received from
                                     tenants or prospecllve tenants and deposits received from tenants and any other lnforrnaUon
                                     requested by Lender;
                           (8)       within ten (10) days after Lender's request, a balance sheet a statement of income and expenses
                                     for Borrower and each Guarantor and a statement of changes in financial position of Borrower and
                                     each Guarantor for Borrower's or such Guarantor's most recent fiscal year, and
                           (9)       within thirty (30) days after filing, copies of all federal and state income tax returns filed by
                                      Borrower and any Guarantor {or, if Borrower or any Guarantor Is a 'disregarded entity" for federal
                                     tax purposes, the federal and stale returns filed by the owner of Borrower or such Guarantor).
                (c)        Each of the statements, schedules, documents, items and reports required by Section 14(b) shall be certified
    to be complete and accurate by each individual Borrower, an Individual (or individuals) having authority to bind each entity
    Borrower and (for guarantor lnforrnation and documents} each Guarantor, and shall be in such form and contain such detail as
    Lender may reasonably require. Lender may, at Lender's discretion, require that any statements, schedules or reports be
    audited at Borrower's expense by independent certified public accountants acceptable to Lender.
                (d)        In the event Borrower or any Guarantor fails to deliver such statements, schedules, documents, items and
    reports within the time frames provided in Section 14(b) above, then such failure shall constitute an Event of Default and, In
    addition to any other remedies which may be available to Lender as a result of such Event of Default, Borrower shalt pay a late
    charge equal to two percent (2%) of the monthly payment amount for each late submission of financial reports to compensate
    Lender or Its servicer for the addiUonal administrative expense caused by such fallure or delay whether or not Borrower Is
    entllled to any notice and opportunity to cure such failure prior to the exercise of any of the remedies. Such late charge shall be
    charged each month that any financial statements remain delfnquent. The fate charge shall be Immediately payable from
    Borrower upon demand by Lender and, until paid, shall be added to and consUtule a part of the Indebtedness as provided in
    Section 12. In no event shall the financial statement late charge consUtute a cure of Borrower's or any Guarantor's default In
     falling to provide financial statements, nor limit Lender's remedies as a result of such default In ·addition to such financial
    statement late charge and any other remedies which may be avallable to Lender as a result of such Event of Default, Lender
    shall have the rlght (1} to increase the Interest rate under the Note to the Default Rate provided for In !he Note as long as such

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    financial statements remain delinquent, and (2) to have Borrower's or any Guarantor's books and records audited, at Borrower's
    expense, by independent certified public accountants selected by Lender in order to obtain such statements, schedules and
    reports, and all related costs and expenses of Lender shall become immediately due and payable and shall become an
    additional part of the Indebtedness as provided in Section 12.
                (e}         If an Event of Default has occurred and is continuing, Borrower shall deliver to Lender upon written demand
    all books and records relating to the Mortgaged Property or Its operation.
                (ij         Borrower authorlZes Lender to obtain a credit report on Borrower at any Ume.
                15.        TAXES; OPERATING EXPENSES.
                (a)         Subject to the provisions of Section 15(c) and Section 15(d), Borrower shall pay, or cause to be pa!d, all
    Taxes when due and before the addition of any lnteres4 fine, penalty or cost for nonpayment.
                 (b)        Subject to the provisions of SecHon 15(c), Borrower shall pay the expenses of operating, managing,
    maintaining and repairing the Mortgaged Property (including insurance premiums, utilities, repairs and replacements) before the
     last date upon which each such payment may be made without any penalty or interest cllarge being added.
                 {c)        As long as no Event of Default exists and Borrower has timely delivered to Lender any bills or premium
     notices that It has received, Borrower shall not be obligated to pay Taxes, Insurance premiums or any olher individual Imposition
     to the extent that sufficient Imposition Deposits are held by Lender for the purpose of paying that specffic Imposition. If an Event
    of Default exists, lender may exercise any rights Lender may have with respect to Imposition Deposits without regard to whether
     Impositions are then due and payable. Lender shall have no liability to Borrower for falling to pay any Impositions to the extent
     that any Event of Default has occurred and ls continuing, insufficient Imposition Deposits are held by Lender at the lime an
     lmpos!Uon becomes due and payable or Borrower has failed to provide Lender with bills and premium notices as provided above.
                 (d)        Borrower, at Its own expense, may contest by appropriate legal proceedings, conducted dlligently and In
     good faith, the amount or validity of any lmpos!Hon other than insurance premiums, If (1) Borrower notifies Lender of the
     commencement or expected commencement of such proceedings, (2) the Mortgaged Property is not In danger of being sold or
     forfeited, (3) Elorrower deposits with Lender reserves sufficient to pay the contested lmposlHon, if requested by lender, and {4)
     Borrower furnishes whatever additional security is required in the proceedings or is reasonably requested by Lender, which may
     include 1he delivery to Lender of the reseNes established by Borrower to pay the contested lmposl\ion.
                  (e}        Borrower shall promptly deliver to Lender a copy of all notices of, and Invoices for, Impositions, and if
      Borrower pays any Imposition directly, Borrower shall promptly furnish to Lender receipts evidencing such payments In
      accordance with Section 7(f}.
                  16.        LIENS; ENCUMBRANCES. Borrower acknowledges that the grant, creatlon or existence of any mortgage,
      deed of trust, deed to secure deb~ security Interest or other lien or encumbrance (a "l.ien') on the Mortgaged Property {other
      than the lien of this Instrument and the liens and encumbrances reflected on the Schedule of Tille Exceptions) or on certain
     ownership interests in Borrower, whether voluntary, involuntary or by operation of law, and whether or not such Uen has priority
      over the lien of this Instrument, is a"Transfer" which constttutes an Event of Default under Section 21 of this Instrument.
                  17.        PRESERVATION, MANAGEMENT AND MAINTENANCE OF·MORTGAGED PROPERTY. Borrower (a)
      shall not commit waste or permit impairment or deterioration of the Mortgaged Property, (b) shall not abandon the Mortgaged
      Property, (c) shall restore or repair promptiy, in a good and workmanlike manner, any damaged part of the Mortgaged Property
      to the equivalent of Its original condition, or such other condition as Lender may approve in writing, whether or not insurance
      proceeds or condemnation awards are available to cover any costs of such restoration or repair, (d) shall keep the Mortgaged
      Property In good repair, including !he replacement of Personalty and Fixtures with items of equal or better function and quality,
      {e) shall provide for professional management of the Mortgaged Property by a property manager satisfactory to Lender under a
      contract approved by Lender !11 writing, and {~ shall glve notice to Lender of and, unless otherwise directed in writing by lender,
      shall appear In and defend any action or proceeding purporting to affect the Mortgaged Property, Lender's security or Lender's
      rights under this Instrument. Borrower shall not (and shall not permlt any tenant or other Person to) remove, demolish or alter
      the Mortgaged Property or any part of the Mortgaged Property except in connection with the replacement of tangible Personalty.
                  18.        ENVIRONMENTAl. HAZARDS. Borrower shall comply with all covenants, conditions, provisions and
      obligations of Borrower (as lndemnllor) under the Environmental Indemnity.
                   19.       PROPERTY AND LIABILITY INSURANCE.
                  (a)        Borrower shall keep the Improvements insured at all times against such hazards as Lender may from time to
      time require, which Insurance shall include but not be limited to coverage against loss by fire, windstorm and allied perils, general
      boiler and machinery coverage, and business Income coverage. Lender's insurance requirements may change from Hme to time

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   throughout the term of the Indebtedness. If Lender so requires, such insurance shall also include sinkhole insurance, mine
   subsidence insurance, earthquake Insurance, and, If the Mortgaged Property does not conform to applicable zoning or land use
   laws, buildlng ordinance or law coverage. In the event any updated reports or other documentation are reasonably required by
   Lender In order to determine whether such addltional insurance is necessary or prudent Borrower shall pay for all such
   documentation at Its sole cost and expense. If any of the Improvements is located In an area that is either (I) identified by the
   Federal Emergency Management Agency {or any successor to that agency) rFEMA") as an area having special flood hazards
   or (ii) designated by FEMA as Zone 0, and If flood insurance is available in that area, Borrower shall Insure such Improvements
   against loss by flood. If lender so requires, such insurance shall also include business lncome/rental value insurance for all
   relevant perils to be covered In the amount required by Lender, but in no case less than the effective gross Income attributable to
   the Mortgaged Property for Iha preceding 12 months, as determined by Lender in Lender's discretion. All insurance required
   pursuant to this Section 19(a} shall be referred to as "Property Insurance•. All policies of Property Insurance must Include a
    non-contributing, non-reporting mortgagee clause in favor of, and In a form approved by, Lender, and shall provide that the
   Insurer will notify Lender In writing of cancelation of policies at least 10 days before the cancelatlon of the policy by the Insurer for
   nonpayment of the premium or nonrenewal and at least 30 days before cancelaHon by the insurer for any other reason.
               (b)       Alt premiums on insurance policies required under this Sec\lon 19 shall be paid in the manner provided in
    SecHon 7, unless Lender has designated in writing another method of payment All such pollcies shall also be in a form
    approved by Lender. Borrower shall deliver \o Lender a legible copy of each Insurance pollcy (or duplicate original) and
    Borrower shall promptly deliver to Lender a copy of all renewal and other notices received by Borrower wllh respect to the
    policies and all receipts for paid premiums. At least 30 days prior to the expiration date of a pollcy, Borrower shall deliver to
    Lender a legible copy of each renewal policy (or a duplicate original) in a form saflsfactory to Lender.
               {c)        Borrower shall maintain at all times commercial general liability insurance, workers' compensation Insurance
    and such other liability, errors and omissions and fidelity Insurance coverages as Lender may from time to time require. A!I
    policies for general liability insurance must contain a standard additional insured provision, in favor of, and in a form approved by,
    Lender.
               (d)       All insurance policies and renewals of insurance policies required by this Section 19 shall be in such
    amounts and for such periods as Lender may from time to time requlre, shall be ln such form and contain such endorsements as
    Lender may from time to time require, and shall be issued by insurance companies satisfactory to Lender.
               (e)        Borrower shall comply with all insurance requirements and shall not permit any condition to exist on the
    Mortgaged Property that would invalidate any part of any insurance coverage that this Instrument requires Borrower to maintain.
               {ij        In the event of loss, Borrower shall give immediate written notice to the insurance carrier and to Lender.
    Borrower hereby authorizes and appoints Lender as attorney-in-fact for Borrower to make proof of loss, to adjust and
    compromise any claims under policies of property damage Insurance, to appear in and prosecute any action arising from such
    property damage insurance policies, to collect and receive the proceeds of property damage Insurance, and to deduct from such
    proceeds Lender's expenses Incurred in the collection of such proceeds. This power of attorney is coupled with an Interest and
    therefcre is Irrevocable. However, nothing contained In fuls Section 19 shall require Lender to incur any expense or take any
    acdon. Lender may, al Lender's option, {1) hold the balance of such proceeds to be used to reimburse Borrower for the cost of
    restoring and repairing the Mortgaged Property to the equivalent of its original condition or to a condition approved by Lender
    (the "Restoration"), or (2} apply the balance of such proceeds to the payment of the Indebtedness, whether or not then due. To
    the extent Lender determines to apply Insurance proceeds to Restoration, Lender shall do so in accordance with lender's than-
    current policies relating to the restoration of casualty damage on similar properties.
                (g)       Lender shall not exercise its option to apply Insurance proceeds to the payment of the Indebtedness if all of
    the followtng cond!Uons are met: (1) no Event of Default (or any event which, with the giving of noUce or the passage of time, or
    both, would consUtute an event of Default) has occurred and is continuing; (2) Lender determines, in its discretion, that Borrower
    has sufficient funds to complete the Restoration: (3) Lender determines, in lts discretion, that the rental lncome from the
    Mortgaged Property after compleHon of the Restoration will be sufficient to meet all operating costs and other expenses,
    Imposition Deposits, deposits to reserves and loan repayment obligations relating to the Mortgaged Property; and (4) Lender
    determines, ln its discretion, that the Restoration will be completed before the earlier of (A) one year before the maturity date of
    the Note or (B) one year after the date of the loss or casualty.
                {h)       If the Mortgaged Property is sold at a foreclosure sale or Lender acquires uUe to the Mortgaged Property,
     Lender shall automatically succeed to all rights of Borrower in and to any Insurance policies and unearned insurance premiums
    and in and to the proceeds resulting from any damage to the Mortgaged Property prior to such sale or acquisition.

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               20,      CONDEMNATION.
               {a)      Borrower $hall prompHy notify Lender of any action or proceeding relating to any condemnation or other
    taking, or conveyance In lieu thereof, of all or any part of the Mortgaged Property, whether direct or indirect (a •condemnation').
    Borrower shall appear In and prosecute or defend any action or proceeding relating to any Condemnation unless otherwise
    directed by Lender in writing. Borrower authorizes and appoints Lender as attorney in fact for Borrower to oommence, appear ln
    and prosecute, in Lende(s or Borrower's name, any action or proceeding relating to any CondemnaUon and to settle or
    compromise any claim In conneoUon with any CondemnaUon. This power of attorney is coupled with an interest and therefore Is
    Irrevocable. However, nothing contained in this Section 20 shall require Lender to incur any expense or take any action.
    Borrower hereby transfers and assigns to Lender all right, title and Interest of Borrower In and to any award or payment with
    respect to ll) any Condemnation, or any conveyance in lieu of CondemnaUon, and (If} any damage to the Mortgaged Property
    caused by governmental action that does not result in a Condemnation.
               {b}       Lander may apply such awards or proceeds, after the deduction of Lende(s expenses Incurred In the
    collection of such amounts, at Lender's option, to the restoration or repair of the Mortgaged Property or to the payment of the
    Indebtedness, with the balance, If any, to Borrower. Unless ~nder otherwise agrees In wrlUng, any appl!caUon of any awsr<:ls or
    proceeds to the Indebtedness shall not extend or postpone the due date of any monthly installments referred to In the Note,
     Seotlon 7 of this Instrument or any Collateral Agreement, or change the amount of such installments. Borrower agrees to
     execute such further evidence of assignment of any awards or proceeds as Lender may require.
                21.      TRANSFERS OF THE MORTGAGED PROPERTY OR INTERESTS IN BORROWER {NO RIGHT TO
    TRANSFER],
              {a)        "Transfer" means (A} a sale, assignment, transfer or other dlsµosltlon (whether voluntary, Involuntary or by
    operation of law}; {B) the granting, craaUn9 or attachment of a lien, encumbrance or security interest (whether voluntary,
    involuntary or by operation of law}; (C) the issuance or other creation of an ownership interest in a legal enUty, Including a
    partnership Interest, Interest In a limited Uabllily company or corporate stocl(; {D) the withdrawal, retirement, removal or
    Involuntary resignation of a partner in a partnership or a member or manager In a limited liabl!lty company; or (E) the merger,
    dissolution, Uquldation, or consolidation of a legal entity or the reconstitution of one type of legal entity Into another type of legal
    entity. For purposes of defining the term "Transfer,• the term ttpartnershlp• shall mean a general partnership, a limited
    partnership, a joint venture and a limited liability partnership, and the term •partner- shall mean a general partner, a limited
    partner and ajoint venturer.
               (b)       "Transfer" does not Include: (i) a conveyance of the Mortgaged Property at a judicial or non-judicial
    foreclosure sale under this Instrument, {II) the Mortgaged Property becoming part of a bankruptcy estate by operation of law
    under the Bankruptcy Code, or (Ill) a lien against ttle Mortgaged Property for local taxes and/or assessments not then due and
    payable.
          ·    (c)       The occurrence of any of the following events shall not constitute an Event of Default under this Instrument,
    notwithstanding any provision of this Section 21 to the contrary:
                         (i)       a Transfer to which Lender has consented;
                         (ii)      a Transfer that occurs by devise, descent or by operaHon of law upon the death of a natural
                                   person (unless such death Itself ls an Event of Default under Section 22(0) of this Instrument);
                         (Iii)     the grant of a leasehold Interest In accordance with the terms of this Instrument or otherwise
                                   approved In writing by Lender;
                         (Iv)      a Transfer of obsolete or worn out Personalty or Fixtures !hat are contemporaneously replaced by
                                   Items of equal or better function artd quality, Which are free of ltens, encumbrances and security
                                   Interests other than those created by the Loan Documents or consented to by Lender, and
                         (V)       the creation of a mechanic's, materialman's, or judgment lien against the Mortgaged Property
                                   which is released of record or otherwise remedied to Lender's satisfaction within 60 days of the
                                   date of creation.
               (d)        The occurrence of any of the following Transfers shall not constitute an Event of Default under this
     Instrument, provided that Borrower has notified Lender in writing within 30 days following the occurrar,ce of any of the following,
     and such Transfer does not consUtute an Event of Default under any o\her Seclion of this Instrument:
                          (I)      a change of Borrower's name, provided that UCC financing statements and/or amendments
                                   sufficient to aonttnue the perfection of lender's security Interest have been properly filed and
                                   copies have been delivered to Lender,

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                        {ii)         a change of tne form of Borrower not involving a transfer of Borrower's assets and not resulting In
                                     any change in liability of any Initial Owner, provided that: (A) UCC financing statements and/or
                                     amendments sufficient to continue the perfection of Lender's security interest have been properly
                                     filed and copies have been delivered to Lender, (B) Lender has been provided, in advance, for
                                     Lender's review and approval, all proposed filings, amendments and other documents pertaining to
                                     such change In form, and (C) Borrower shall pay for attorneys' fees, and other out of pocket costs
                                     of Lender for the review of such documents and any filings, including any tiUe endorsement costs if
                                     Lender in its discretion requires an endorsement or endorsements to Lender's Ulla policy;
                         (Iii)       the merger of Borrower with another enlity when Borrower is the surviving entity;
                         (Iv)        pntentlona!ly omitted); and
                         (v)         the grant of an easement, if before the grant Lender determines that the easement will not
                                     materially affect the operation or value of the Mortgaged Property or Lender's interest in the
                                     Mortgaged Property, and Borrower pays to Lender, upon demand, all costs and expenses,
                                     Including Attorneys' Fees and Costs, incurred by Lender In connectlon wilh reviewing Borrower's
                                      request
              (e)        The occurrence of any of the following events shall constitute an Event of Default under this Instrument
                         (I)          a Transfer of all or any part of the Mortgaged Property or any Interest in the Mortgaged Property
                                      (including without limitation the creation or exlstence of any Lien as provided in SecUon 16 of this
                                      Instrument);
                          (ii)        If Borrower Is a limited partnership, a Transfer of (A) any general partnership interest, or (8) limited
                                      partnership interests in Borrower that would cause the Initial Owners of Borrower to own less than
                                      a Controlllng Interest of all limlted partnership interests In Borrower:
                          (Iii)       if Borrower is a general partnership or a joint venture, aTransfer of any genel'(ll partnership or joint
                                      venture interest in Borrower;
                          (iv)        if Borrower is a limited liability company, (A) a Transfer of any membership interest in Borrower
                                      which would cause the tnltlal Owners to own less than a Controlling lnterest of all the membership
                                      interests In Borrower, {B) a Transfer of any membership or other interest of a manager in Borrower
                                      that results in a change of manager, or (C) a change of a nonmember manager;
                          (v)         if Borrower iS' a corporation, (A) the Transfer of any voling stock in Borrower which would cause the
                                      Initial Owners to own less than a Controlling Interest of any class of voting stock In Borrower or (B)
                                      If the outstanding voting stock In Borrower is held by 100 or more shareholders, one or more
                                       transfers by a single transferor within a 12-month period affecting an aggregate of 5% or more of
                                       that stock;
                          (vi)         if Borrower is a trust, (A) a Transfer of any beneficial Interest in Borrower which would cause the
                                       lnltial Owners to awn less than a Controlling Interest of all the beneficial interests In Borrower, (B)
                                       the termination or revocation of the trust, or {C) the removal, appointment or substitution of a
                                       trustee of Borrower; and
                          (vii)        a Transfer of any interest in a Controlling Entity which, if such Controlling Entity were Borrower,
                                       would result in an Event of Default under any of Sections 21 (e}(i} lhrough (vi} above.
    Lender shall not be required to demonstrate any actual impairment of Its security or any increased risk of default in order to
    exercise any of its remedies with respect to an Event of Default under this Section 21.
               22.         EVENTS OF DEFAULT. The occurrence of any one or more of the following shall constitute an Event or
    Default under this Instrument
               {a)         any fallure by Borrower to pay or deposit when due any amount required by the Note, this Instrument or any
    other Loan Document
               (b)         any failure by Borrower to maintain the insurance coverage required by Section 19 or to provrde any financial
    lnformaUon or documents required by Section 14;
               (c)         any failure by Borrower to comply with the previsions of SecUon 33;
               (d)         fraud or material misrepresentation or material omission by Borrower, any of its officers, directors, trustees,
    general partners or managers or any Guarantor in connection with (A) the application for or creation of the Indebtedness, (B) any
    financial statement, rent roll, or other report or information provided to Lender during the term of the Indebtedness, or (C) any

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     request for lender's consent to any proposed actlon, including a request for disbursement of funds under any Collateral
     Agreement
                  (e)       any event or condition that under the terms of this Instrument Is specified as constitutlng an Event of Default,
     including, without llmitafion, any Event of Default under SecUon 21;
                  (ij       the commencement of a forfeiture actlon or proceeding, whether cMI or criminal, which, in Lender's
     reasonable judgment, could result in a forfelture of the Mortgaged Property or otherwise materially impair the lien created by this
      Instrument or Lender's interest in the Mortgaged Property;
                  (g)       any failure by Borrower to perform any of Its obligafions under this Instrument (other than those specified In
     Secfions 22(a) through (Q), as and when required, which continues for a period of 30 days after notice of such failure by lender
     to Borrower. However, no such noUce or grace period shall apply ln the case of any such failure which could, in Lender's
     Judgment, absent immediate exercise by Lender of a right or remedy under this Instrument result in harm to Lender, impairment
     of the Note or this Instrument or any other security given under any other Loan Document;
                  (h)       any failure by Borrower or any Guarantor to perform any of Its obligations as and when required under any
      Loan Document other than this Instrument which continues beyond the applicable cure pertod, If any, specified in that Loan
      Document,
                   (i)      any event or condition occurs that results in any other indebtedness (i.e. indebtedness other than the
      Indebtedness secured by this Instrument) owing by Borrower or any Borrower Affiliate (as defined below) to Lender becoming
      due prior to Its scheduled maturity or that enabfes or permits (after the lapse of any appllcable cure period) Lender or any trustee
      or agent on lts behalf to cause such Jndebtedness to become due prior to its scheduled maturity ("Borrower Affiliate• means (i)
      any entity owned or controlled by Borrower, (II} any entity commonly owned or controlled by the members or owners of Borrower,
      (iii} any Guarantor and (Iv) any entity owned or controlled by one or more Guarantors);
                   0)       any exercise by the holder of any debt instrument secured by a mortgage, deed of trust or deed to secure
      debt on the Mortgaged Property of a right to declare all amounts due under that debt instrument immediately due and payable;
                   (k}      should any representation or warranty contained In this Instrument, the Borrower Certificate, any other Loan
      Document, or any other document submitted by Borrower to Lender be or become false or misleading In any material respect;
                   (I)       if the Mortgaged Property is subject to any covenants, conditions and/or restrictions, land use reslrlction
      agreements or slmllar agreements, Borrower fails ta perform any of its obligations under any such agreement as and when
      required, and such failure continues beyond any applicable cure period;
                   (m)       Borrower or any Guarantor makes a general assignment for the benefit of creditors, voluntarily files for
      bankruptcy protecUon under the Bankruptcy Code or voluntarily becomes subject to any reorganization, receivership, Insolvency
      proceeding or other similar proceeding pursuant to any other federal or state law affecting debtor and creditor rights, or an
      involuntary case is commenced against Borrower or any Guarantor by any creditor (other than Lender) of Borrower or any
       Guarantor pursuant to the Bankruptcy Code or other federal or state law affecting debtor and creditor rights to which Borrower or
       any Guarantor voluntarily becomes subject, and is not dismissed or discharged within 60 days after filing;
                   {n)       Borrower, any member, manager, officer, shareholder, general partner or trustee of Borrower, any Guarantor
      or any member, manager, officer, shareholder, general partner or trustee of any Guarantor, purports to revoke or dispute the
       validity of, or Borrower's or any Guarantor's liabllity under, any of tlle Loan Documents or any Guaranty; and
                    (o)      Borrower (if Borrower ls a natural person) or any member, shareholder, partner or trustee of Borrower
       (if such member, shareholder, partner or trustee is a natural person), or any Guarantor who is a natural person, dies or becomes
       incompetent {unless, in the case of the death or incapacity of any member, shareholder or partner of Borrower, the Transfer of
      such member's, shareholder's or partner's interest in Borrower would not have been an Event of Default under Section 21);
       provided, however, that in the event of the death of any such person, Borrower (or such deceased person's executor,
       administrator or successor trustee) may within thirty (30) days after such death, present to Lender credit application(s) for
       proposed substitute borrower(s), member(s), shareholder(s), partner(s), trustee(s) or guarantor(s) on Lender's required forms,
       together with such supporting financial Information as Lender may require, and in such event Lender, in its sole, absolute and
       unfettered discretion after review of such applicatlon(s) and supporting information, may waive such Evant of Default, and
       provided further that such waiver may, in the case of the death or incompetence of Borrower or any Guarantor, require, as a
       condition of such waiver, that one or more substitute borrowers or guarantors assume unconditionally the obligations of such
       deceased person under the Loan Documents and/or guaranty, in a manner satisfactory to Lender. In such event Borrower or the
       successor Borrower(s) shall execute such documentation as Lender may require and shall pay all of Lende(s Attorneys' Fees
       and Costa and other out of pocket costs In connection with such assumption.

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                23,       REMEDIES CUMULATIVE. Each right and remedy provlded in this lnstrument is distinct from all other rights
    or remedies under this Jnstrument or any other Loan Document or afforded by applicable law, and each shall be cumulallve and
    may be exercised concurrently, independently, or successively, in any order.
                24.       FORBEARANCE.
                {a}       Lender may (but shall not be obligated to) agree with Borrower, from time to time, and without giving notice
    to, or obtaining the consent of, or having any effect upon the obligations of, any Guarantor or any other third party obliger, to take
    any of the following actions: extend the time for payment of all or any part of the Indebtedness; reduce the payments due under
    this Instrument, the Note, or any other Loan Document; release anyone liable for the payment of any amounts under this
    Instrument, the Note, or any other Loan Document; accept a renewal of the Note; modify the terms and time of payment of the
    Indebtedness; join In any extension or subordination agreement release any Mortgaged Property; take or release other or
    addlUonal security; modify the rate of Interest or period of amortization of the Note or change the amount of the monthly
    installments payable under the Note; and otherwise modify this Instrument, the Note, or any other Loan Document.
                (b)       Any forbearance by Lender in exercising any right or remedy under the Note, this lnstrument, or any other
     Loan Document or otherwise afforded by applicable law, shall not be a waiver of or preclude the exercise of any right or remedy.
    The acceptance by Lender of payment of all or any part of the Indebtedness after the due date of such paymen~ or in an amount
    which is less than the required payment, shall not be a waiver of Lender's right to require prompt payment when due of all other
    payments on account of the Indebtedness or to exercise any remedies for any failure to make prompt payment. Enforcement by
     Lender of any security for the lndebtedness shall not consU!ute an election by Lender of remedies so as to preclude the exercise
     of any other right available \o Lender. lender's receipt of any awards or proceeds under Secttons 19 and 20 shall not operate to
     cure or waive any Event of Default.
                 25.       LOAN CHARGES. lf any applicable law limiting the amount of interest or other charges permitted to be
     collected from Borrower Is interpreted so that any charge provided for in any Loan Document, whether considered separately or
     together with other charges levied in connection with any other Loan Document violates !hat law, and Borrower is entitled to the
     benefit of that law, that charge is hereby reduced to the extent necessary to eliminate that vlotatlon. The amounts, If any,
     previously paid to Lender in excess of the permitted amounts shall be applied by Lender to reduce the principal of the
     Indebtedness, For the purpose of determining whether any applicable law limiting the amount of Interest or other charges
     permitted to be collected from Borrower has been violated, all Indebtedness which constitutes Interest as well as all other
     charges levied in connection with the Indebtedness which constitute interest, shall be deemed to be allocated and spread over .
     the stated term or the Note. Unless otherwise required by applicable law, such allocation and spreading shall be effected in such
     amanner that the rate of interest so computed is uniform throughout the stated term of the Note.
                 26.       WAIVER OF STATUTE OF LIMITATIONS. Borrower hereby waives the right to assert any statute of
     limitations as a bar to the enforcement of the lfen of this Instrument or to any acHon brought to enforce any Loan Document
                 27.       WAIVER OF MARSHALLING. Notwithstandlng the existence of any other security Interests In the
     Mortgaged Property held by Lender or by any other party, Lender shall have the right lo determine the order in which any or all of
     the Mortgaged Property shall be subjected to the remedies provided In this Instrument tne Note, any other Loan Oocument or
     applicable law. Lender shall have the right to determine the order in which any or all portions of the Indebtedness are satisfied
     from the proceeds realized upon fue exercis& of such remedies. Borrower and any party who now or ln the future acquires a
     security interest In the Mortgaged Property and who has actual or constructive notice of this Instrument waives any and all right
     to require the marshalling of assets or to require that any of the Mortgaged Property be sold in the inverse order of alienalion or
     that any of the Mortgaged Property be sold in parcels or as an entirety in connection with lhe exercise of any of the remedies
     permitted by applicable law or provided In this Instrument.
                 28.       FURTHER ASSURANCES. Borrower shall execute, acknowledge, and deliver, at Its sole cost and expense,
     all further acts, deeds, conveyances, assignments, estoppal certificates, flr:ianclng statements, transfers and assurances as
     Lender may require from time to time In order to better assure, grant and convey to Lender the rights intended to be 9ranled,
      now or In the future, to Lender under this Instrument and the Loan Documents.
                 29,       ESTOPPEL CERTIFICATE. Within ten (10) days after a request from Lender, Borrower shall deliver to
      Lender a written statement signed and acknowledged by Borrower, certifying to Lender or any Person designated by Lender, as
      of lhe date of such statement, {i) that the Loan Documents are unmodified and In full force and effect {or, if there have been
      modifications, that the Loan Documents are in full force and effect as modified and setting forth such modifications); (ii) the
      unpaid principal balance of the Note; (Hi) the date to which Interest under the Note has been paid; {iv) that Borrower Is not in
      default in paying the Indebtedness or in performing or observing any of the covenants or agreements contained in this Instrument

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     or any of the other Loan Documents (or, If Borrower Is in default, desctibing such default in reasonable detail); M whether er not
     there are then existing any setoffs or defenses known to Borrower against the enforcement of any right or remedy of Lender
     under the Loan Documents; and (vi) any additional facts requested by lender.
                30.       GOVERNING LAW; CONSENT TO JURISDICTION AND VENUE.
                {a)       Thls Instrument and any loan Document which does not itself expressly identify the law that is to apply to it,
     shall be governed by the laws of the jurisdiction in which the Land is located {the •Property Jurisdiction").
                (b)        Sorrower agrees that any controversy arising under or in relation to the Note, this Instrument or any other
     Loan Document may be litigated In the Property Jurisdiction. The state and federal courts and authorities with jurisdiction in the
     Property Jurisdiction shall have non-exclusive Jurisdiction over all controversies which shall arise under or In relation to the Note,
     any security for the Indebtedness, or any other Loan Documenl Borrower irrevocably consents to service, Jurisdiction, and
     venue of such courts for any such litigation and waives any other venue, or defense to venue to which it might be entitled by
     virtue of domicile, habitual residence, inconvenient forum or otherwise,
                31.        NOTICE.
                {a)        All notices, demands and other communications ("notice") under or concerning thts Instrument shall be in
     writing. Each notice shall be addressed to the intended recipient at Jts address set forth ln paragraph Aof this Instrument, and
     shall be deemed given on the eamestto occur of (1) the date when the notice is received by the addressee; (2) the first Business
     Day after the notice Is delivered to a recognized overnight courier service, with arrangements made for payment of charges for
     next Business Day delivery; or (3) the third Business Day after the notice is deposited in the United States mail with postage
     prepaid, certified mail, return receipt requested. As used in this Section 31, the term •Business Day" means any day other than a
      Saturday, a Sunday or any other day on which Lender is not open for business.
                 (b)       Any party to this Instrument may change the address to which notices intended for it are to be directed by
     means of notice given to the other party In accordance with this Section 31. Each party agrees that it will not refuse or reject
     delivery of any notice given In accordance with this Section 31, that It will acknowledge, in writtng, the receipt of any noUce upon
     request by lhe other party and that any nollce re)ected or refused by lt shall be deemed for purposes of thl& Section 31 to have
      been received by the rejecting party on the date so refused or rejected, as concluslvely established by the records of the U.S.
      Postal Service or the courier service.
                 (c)       Any notice under the Note and any other Loan Document which does not specify how notices are to be given
      shall be given in accordance with this Section 31.
                 32.       SALE OF NOTE; CHANGE IN SERVICER. The Note or a partial Interest in the Note (together with this
      Instrument and the other Loan Documents) may be sold one or more times without prior notice to Borrower. Asale may result in
      a change of the Loan Servicer. There also may be one or more changes of the Loan Servicer unrelated to a sale of the Note. If
      there is a change of the Loan Servicer, Borrower wlll be given notice of the change.
                 33.       SINGLE ASSET BORROWER. unm !he Indebtedness is paid in full, Borrower (a) shall not acquire any real
      or personal property other than !he Mortgaged Property and personal property related to the operation and maintenance of the
      Mortgaged Property; {b) shall not operate any business other than the management and operation of Iha Mortgaged Property;
      and (c) shall not maintain its assets In a way difficult to segregate and identify.
                 34.       SUCCESSORS AND ASSIGNS BOUND. This Instrument shall bind, and the rights granted by this
       Instrument shall Inure to, the respective successors and assigns of Lender and Borrower. However, a Transfer not permitted by
      Section 21 shall constitute an Event of Default
                 35.       JOINT AND SEVERAL LIABILITY. If more than one Person signs this Instrument as Borrower, the
      obligations of such Persons under this Instrument, the Note and other Loan Documents shall be Joint and several.
                 36.       RELATIONSHIP OF PARTIES; NO THIRD PARTY BENEFICIARY.
                 (a}       The relationship between Lender and Borrower shall be solely that of creditor and debtor, respectively, and
      nothing contained in this Instrument shall create any other relationship between Lender and Borrower.
                 (b)        No creditor of any party to this Instrument and no other Person shall be a third party beneficiary of this
      Instrument or any other Loan Documenl Without limiting the generality of the preceding sentence, (1) any arrangement
      {a "Servicing Arrangement'') between lender and any Loan Servicer for loss sharing or interim advancement of funds shall
      constitute a contractual obllgatlon of such Loan Servicer that is independent of the obligation of Borrower for the payment of the
       Indebtedness, (2) Borrower shall not be a third party beneficiary of any Servicing Arrangement, and (3) no payment by the Loan
       Servicer under any Servicing Arrangement will reduce the amount of the Indebtedness.


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               37.         SEVERABILITY; ENTIRE AGREEMENT; AMENDMENTS. The parties intend that the provis'1ons of thls
    Instrument and all other Loan Documents shall be legally severable. If any term or provision of this Instrument or any other
    Loan Document to any extent, be determined by a court of competent jurisdiction to be invalld or unenforceable, the remainder
    of this Instrument or of such other Loan Document shall not be affected thereby, and each term and provision shall be valid and
    be enforceable to the fullest extent permitted by law. This Instrument contains the entire agreement among the parties as to the
    rights granted and the obligations assumed In this Instrument. This Instrument may not be amended or modified except by a
    writing signed by the party against whom enforcement is sought
                38.        CONSTRUCTION. The captions and headings of the Sections of this Instrument are for convenience only
    and shall be disregarded In construing this Instrument. Any reference In this Instrument to an •Exhibit" or a "Section'' shall,
    unless otherwise explic\Uy provided, be construed as referring, respectively, to an Exhibit attached to this Instrument or to a
    Section of this Instrument All Exhibits attached to or referred to In this Instrument are incorporated by reference Into this
    Instrument. Any reference in this Instrument to a statute or regulation shall be construed as referring to that statute or regulation
    as amended from 11me to time. Use of the singular in this lnsfrumenl Includes the plural and use of the plural Includes the
    singular. As used In this Instrument the term "Including• means "Including, but not limited to" and the term 'Includes• means
    'Includes without limltatlon.• The use of one gender includes the other gender, as the context may require. Unless the context
    requires otherwise, (a) any definition of or reference lo any agreement, Instrument or other document In this Instrument shall be
    construed as referrtng to such agreement, Instrument or other document as from time lo Hme amended, supplemented or
    otherwise modified (subject to any restrictions on such amendments, supplements or modifications set forth in this Instrument or
     any other Loan Document}, and (b} any reference in this Instrument to any Person shall be construed to include such Person's
    successors and assigns.
                39.        LOAN SERVICING. All actions regarding the servicing of the Loan, Including the co!lect\on of payments, the
     giving and receipt of notice, Inspections of the Mortgaged Property, Inspections of books and records, and the granllng of
     consents and approvals, may be taken by the Loan Servicer unless Borrower receives notice to the contrary. If Borrower
     receives conflicting notices regarding the identity of the Loan Servicer or any other subject, any such notice from Lender shall
     govern.
                40.        DISCLOSURE OF INFORMATION. Lender may furnish information regarding Borrower or the Mortgaged
     Property to third parties with an existing or prospective Interest In the servicing, enforcement, evaluation, performance, purchase
     or securltization of the Indebtedness, Including but not limited to trustees, master· servlcers, special servicers, rating agencies,
     and organizations maintaining databases on the underwriting and performance of similar mortgage loans, as well as
     governmental regulatory agencies having regulatory authority over Lender. Borrower Irrevocably waives any and all rights it may
     have under applicable law to prohibit such disclosure, including but not limited to any right of privacy.
                41.        NO CHANGE IN FACTS OR CIRCUMSTANCES. All Information In the application for the loan submitted to
     Lender (the "Loan Application") and In all financial statements, rent rolls, reports, certificates and other documents submitted In
     connection with the Loan Application are complete and accurate in all material respects. There has been no material adverse
     change in any fact or circumstance that would make any such information Incomplete or inaccurate.
                42.        SUBROGATION. If, and to the extant that, the proceeds of the Loan, or subsequent advances under
     Section 12, are used to pay, satisfy or discharge a Prior Uen, such Loan proceeds or advances shall be deemed to have been
     advanced by Lender at Borrower's request, and Lender shall automatically, and without further action on its part, be subrogated
     to the rights, including lien priority, of the owner or holder of the obligation secured by the Prior Lien, whether or not the Prior Lien
     is released.
                43.        [Intentionally Omitted]
                44.        ACCELERATION; REMEDIES. At any time during the existence of an Event of Default Lender, at lender's
     option, may declare the Indebtedness to be immediately due and payable without further demand, and may foreclose this
     Instrument by judicial proceeding and may Invoke any other remedies permitted by New Jersey law, provided in equlty or
     provided In this Instrument or in any other Loan Document. Lender shall be entitled to collect all costs and expenses incurred In
     pursuing such remedies, Including Attorneys' Fees and Costs permitted by Rules of Court, costs of documentary evidence,
     abstracts and tiUe reports.
                45.         FIXTURE FILING. This Instrument ts also a fixture filing under the Uniform Commercial Code of New
     Jersey.



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              46.       RELEASE. Upon payment of the Indebtedness, Lender shall cancel this Instrument Borrower shall pay to
  Lender the actual cost charged by the county recording officer to record the cancellatlon of the mortgage plus Lendets
  reallO!labl& costs Incurred In canceling this Instrument
              47.       NO CLAIM OF CREDIT FOR TAXES, Borrower wlll not make or claim credit on or deduction from the
  principal or Interest on the sums secured by 1hls Instrument by reason of any municlpal or governmental ta~, assessments or
  charges assessed upon the Mortgaged Property, or claim any deduction from the taxable value of the Mortgaged Property by
  reason of this Instrument.
              48,       LOAN SUBJECT TO MODIFICATION. This Instrument Is subject to •modification• as such term is defined In
  N.J.S.A. 46:8-8.1 et seq, and shall be subject to the priority provisions thereof.
              49.       TRUE ANO CORRECT CQPY, BORROWER HEREBY DECLARES THAT BORROWER HAS READ THIS
  INSTRUMENT, HAS RECEIVED A COMPLETELY FILLED-IN COPY OF IT WITHOUT CHARGE THEREFOR, AND HAS
  SIGNED THIS INSTRUMENT AS OF THE DATE AT THE TOP OF THE FIRST PAGE.
              50,       INTERPRETATION. It Is the intenUon of Borrower and !..ender that If any provision of this Instrument or any
  other Loan Document is capable of two {2} constructions, one of which would render the provision void, and Iha other of which
  would render the provision valid, then the provi,lon shall have the meaning which renders it valid. Borrower acknowledges ttlat
   Lender has attempted In good faith to a&sure that this Instrument. the Note and all olher Loan Documents are In compliance with
   applicable laws of the Property Jurisdiction and federal laws. Nevertheless, in the event that any provision of this Instrument. the
   Note or any other Loan Document Is not In compliance with any such laws, then the non-complying provision shall be deemed to
   be deleted or modified to the extent necessary to assure legal compliance. Similarly, In lhe event any language or disclosure
   required by appllcable lam of the Property Jurisdiction ls not contained in the Loan Documents, then the Loan Documents shan
   be deemed to have been supplemented to add such language or disclosure, or, at lender's option, Lender may proVlde such
   additional language or disclosure. In either event, such legal requirement shall thereby be saUsfled and such noncompliance
   shaU be deemed to have been cured fur all purposes. Within ten (10) days after written request by Lender, Borrower agrees to
   execute such documentation as Lender may require to cure any legal compliance Issues or deflclencies In the Loan Documents.
               51.      FUTURE ADVANCES. In addi\lon to the Indebtedness, lhls Instrument shall (to the extent allowed by
   applicable law) also secure payment of the principal, Interest and other charges due on all other future loans or advances mads
   by lender to Borrower (or any successor 111 interest to Borrower as the owner ot all or any part ot the Mortgaged Property) when
   the promissory note evidencing such loan or advance specifically states that It is secured by this Instrument
   {"Futur, Advances"), Including au extensions, renewals and modifications of any such Future Advances.
               52.       AGREEMENT TO PROVIDE ADDITIONAL DOCUMENTS. Borrower agrees to execute and acknowledge
   such additional documents as may be necessary or desirable In order to carry QUt the Intent and purpose of this Instrument and
   the other Loan Documents, to confirm or establish the lien hereof, or to correct any clerical errors or legal deflclencles. Without
   llmltlng Iha foregoing, Sorrower agrees to execute a raplacement Note In the event the Note is lost or destroyed and to execute
    an amended or corrected and restated subsUtute Note to correct any clerical or olher errors which may be discovered In tho
   original Note. FaUure of Borrower to comply with any request by Lender pursuant to this Section or under section 28 above
   wlthkt ten (1 O) days after written request by Lender shall constitute a material Event of Default hereunder.
               53.       EXECUTION IN COUNTERPARTS. This Instrument may be executed In mulUple counterparts, and lhe
    separate signature pages and notary acknowledgments may then be combined Into a single original document for recordaUon,
               54.       PAYMENT OF CLOSING COSTS. If for any reason 1he escrow or closing agent fails to reserve and pay for
    all of lender's fees, legal1 documentatton, appraisal, title, recording and other Closing costs Incurred In connecllon With the
    Closing and funding of the l.oan, then Borrower shall pay or reimburse Lender fQr any such unpaid fees or costs within ten (10)
    days aftef written demand by t.ender Itemizing the unpaid fees and costs. Failure of Borrower to so pay or reimburse Lender for
    any such unpaid fees and costs within ten (10) days after written demand by Lender shall constitute an Event of Default and,
    Without llmittng any other r8f!1edles of lender, Lender may Immediately instate lhe Default Rate under the Note until such
    amounts are received by lender.
               55.       OBLIGATION TO PAY AT DEFAULT RATE. Borrower agrees that it Is the intention of Sorrower and
    Lender that In the event of a foreclosure or other action to enforce the terms of any or all of the Loan Documents, and the enlly
    of a judgment In such foreclosure or other enforcement action (" Judgment"), Borrower's obligation to pay Lender interest at the
    Default Rate (as defined In the Note}, any taxes, Insurance, premiums or other charges advanced by Lender, or attorney's fees
    or other costs and expenses Incurred by Lender with respect to any or all of the Loan Ooc:urnents, whether paid or Incurred


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   before or after the entry of such Judgment, will not be deemed to have merged into the Judgment and will survive the entry of
   sU:ch Judgment and contlnue In full force and effect unUI all such sums have been pald In full to Lender.
             56.        BALLOON PAYMENT NOTICE. The Note secured hereby provides for a balloon payment of the entire
   Indebtedness upon the Maturity Date of the Note.
              57.       DOCUMENT IMAGING. Lender shall be entitled, in its sole discretion, to Image or make copies of all or any
   selection of the agreements, Instruments, documents, Items and records governing, arising from or relating to any of Borrowers
   loans, including, without limltatlon, this Instrument and the other Loan Documents, and Lender may destroy or archive the paper
   originals. Borrower walves (i) any right to insist or require that Lender produce paper originals, (JI) agrees that such Images shall
   be accorded the same force and effect as the paper originals, (ill) agrees that Lender is entitled to use such images in lieu of
   destroyed or archived originals for any purpose, including as admlssible evidence ln any demand, presentment or other
   proceedings, and {Iv) furtl\er agrees that any executed facs!mile (faxed), scanned, or olher Imaged copy of thls Instrument or any
   other Loan Document shall be deemed to be of the same force and effect as the Qriglnal manually executed document.
              58.       WAIVER OF TRIAL BY JURY. BORROWER AND LENDER EACH (A) COVENANTS AND AGREES NOT
   TO ELECT A TRIAL BY JURY WITH RESPECT TO ANY ISSUE ARISING OUT OF THIS INSTRUMENT OR THE
   RELATIONSHIP BETWEEN THE PARTIES AS BORROWER AND LENDER THAT IS TRIABLE OF RIGHT SY A JURY AND
    (B} WAIVES ANY RIGHT TO TRIAL BY JURY WITH RESPECT TO SUCH ISSUE TO THE EXTENT THAT ANY SUCH RIGHT
   EXISTS NOW OR IN THE FUTURE. THIS WAIVER OF RIGHT TO TRIAL BY JURY IS SEPARATELY GIVEN BY EACH
    PARTY, KNOWINGLY AND VOLUNTARILY WITH THE BENEFIT OF COMPETENT LEGAL COUNSEL.

             ATTACHED EXHIBIT. The follow{ng Exhibit is attached to this Instrument
                   Exhibit •A"       Description of the Land

                                                  {Borrower's signatures on next page.}




    New Jersey Mortgage                                                                                                        Page21




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         THIS MORTGAGE SECURES A FIXED RATE PROMISSORY NOTE. THIS MORTGAGE lS A FIRST MORTGAGE.
  NO FURTHER ENCUMBRANCES MAY BE RECORDED AGAINST THE MORTGAGED PROPERTY WITHOUT THE PRIOR
  WRITTEN CONSENT OF LENDER. FAILURE TO COMPLY WITH THIS PROVlSION SHALL CONSTITUTE AN EVENT OF
  DEFAULT AND AT LENDER'S OPTION THE LOAN SHALL IMMEDIATELY BECOME DUE AND PAYABLE. CONSENT TO
  ONE FURTHER ENCUMBRANCE SHALL NOT BE DEEMED TO BE A WAIVER OF THE RIGHT TO REQUlRE SUCH
  CONSENT TO FUTURE OR SUCCESSIVE ENCUMBRANCES.

            lN WITNESS WHEREOF, Borrower has signed and delivered !his Instrument under seal (where applicable} or has
  caused this Instrument to he signed and delivered by Its duly authorized representative under seal (where applicable). Where
  appllcable law so provides or allows, Borrower intends \hat this Instrument shall be deemed to be signed and delivered as a
  sealed Instrument.

   BORROWER:
  EVERGR                                   C,
  aNewJ




   (SEAL)

   EVERGREE
   aNewJe                                any




   (SEAL)

   EVERGR                           C,
   aNewJ                             pany




   (SEAL}

   EVERGREE
   aNewJer




   (SEAL}



   New Jersey Mortgage                                                                                                Page22




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  State of New Jersey                               )
                             ,I                     ) SS.
  Countyof        8~tU(rv                           )
' On     / v.Pa-1      Jt/          ,2018, before me,       EUl:.-Afff/lf / 1 • ,AWWfllfft;L-A                  I   Notary Public, personally
  appeared NICHOLAS J. AYNILIAN,

                                                                  [B personalty known to me • OR-
                                                                  D proved to me on the basls of satisfactory evidence
                                                                  to be the person(s) who executed the wilhln instrument as
                                                                  Member I Manager on behalf of EVERGREEN PLAZA
                                                                  ASSOCIATES LLC, a New Jersey limited llabillty company,
                                                                  the limited liablllty company therein named, and acknowledged
                                                                  to me that the limited liability company executed the same for
                                                                  the purposes therein stated.




                                                                   Other Required Information {Pfinted Name of Notary, Residence, etG.)
       Place Nolary Seal and/or Any Stamp Above


                                                                                      El.?ZASETH M. ANDREO'ITOLA
                                                                                     Notary Publlc, State of New Jersey
                                                                                     My CammlSsion Expirc, 03/0812020




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   State of New Jersey                             )
                 tA.f!H:e,J    ) ss.
   County of   --1Z-----------I
                               )
   On      /:'.Aµa/ l ~- . 2018, before me,                                                         , Notary Public, personally
   appeared NICHOLAS J. AYNILIAN,

                                                       [!J personally known to me • OR -
                                                       D proved to me on the basis of saHsfaclory evidence
                                                       to be the person(s) who executed the within instrument as
                                                       Member/ Manager on behalf of EVERGREEN I ASSOCIATES
                                                       LLC, a New Jersey limited liability company, the l!miled
                                                       liability company therein named, and acl<nowledged to me that
                                                       the limited !labllity company executed the same for lhe purposes
                                                        therein slated.




                                                       Other Required lnfonnalion {Ptinled Name or Notary. Residence, eta.)
        Place Notaiy Seal and/or Any Stamp Above
                                                                          et.IZA8ETl-l M. ANDRf:O,,.0\.A
                                                                         Notary Publ~e, Stnt~of :;~~~
                                                                         My eommtss1on Expires




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   State ofNew Jersey                              )
                   a.r:1>Lr.• I                    )   SS,
   Countyof -""""~--~-iv_ _ _ _ _ )

   On e"A p-c,/1- I        lf        ,
                              2018, before me,               F/)/UJ/Jrf!1lf ;.I. >4JJQF£:?1o/OL.>;1 , Notary Publlc, personally
   appeared NICHOLAS J. AYNILIAN,

                                                                   [0 personally known to me • OR -
                                                                   0   proved 1o me on 1he basis of satlsfactory evidence

                                                                   to be the person(s) who executed the within instrument as
                                                                   Member I Manager on behalf of EVERGREEN 11 ASSOClATES
                                                                   LLC, a New Jersey limited liablllty company, the llmited
                                                                   liability company therein named, and acknowledged to me that
                                                                   the limited liability company executed the same for the purposes
                                                                   therein stated.




                                                                    Other Required lnformatiOn (Piloted Name orNotary, Residence, etc.)
       Place Nolary Seal aod/or Ally Stamp Above
                                                                                      ELIZABETH M. ANb~OTTot.A
                                                                                     Notary Public, State. of New Je.rsey
                                                                                     My Commission Expires 03/08/2020




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         .      Exhibit 2 - Beldock Declaration                                         Page 66 of 87




    State of New Jersey                               )
    County of        V: 1.126,   r,J                  I   SS,


    On ,lt~fi?.-af {~         , 2018, before me,            ['   ''tAfietit e1, -ANP~d'(((;Lt, , Notary Public, personally
    appeared NICHOLAS J, AYNILIAN,

                                                                      [0 personally known to me • OR -
                                                                      D proved to me on !he basis of satisfactory evidence
                                                                      to be the person(s) who executed the within Instrument as
                                                                      Member I Manager on behalf of EVERGREEN m
                                                                      ASSOCIATES LLC, a New Jersey llmlted liability company,
                                                                      the lfmited liability company therein named, and acknowledged
                                                                      to me that the limited liability company executed the same for
                                                                      the purposes therein staled.




                                                                      Other Required Information (Printed Name of Notary, Residence, etc.)
         Place t,lolary seal and/or Any Stamp Above

                                                                               ELIZABETH M. ANt>REOTTOLA
                                                                              Notary Public, State of New Jersq
                                                                              My Commis$ion Expires 03/08/2020




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                                             EXHIBIT•A'
                                       DESCRJPTION OF THE LAND

       All that certain lot, parcel or tract of land, situate and lying in the Townships of Mount Holly &
       Lumberton, County of Burlington and State of New Jersey being more particularly described as
       follows:

       TRACT 1:

       BEGINNING at an iron pin set in southerly line of New Jersey State Highway Route No. 38
       South Pemberton Road, said point being the end of a curve connecting the southerly line of New
       Jersey State Highway Route No. 38 South Pemberton Road and the southeasterly line of Savory
       Way (60') running; thence

        1.     Along the southerly line of New Jersey State Highway Route No. 38 South Pemberton
               Road, South 58 degrees 26 minutes 24 seconds East 1108.90 feet to an iron pin set;
               thence
       2.      South 31 degrees 33 minutes 36 seconds West 83.03 feet to a point; thence
       3.      North 65 degrees 15 minutes 11 seconds West 130.79 feet to a point; thence
       4.      South 31 degrees 33 minutes 36 seconds West 248.58 feet to a point; thence
       5.      North 58 degrees 27minutes 32 seconds West 162.24 feet to a point; thence
       6.      South 31 degrees 13 minutes 02 seconds West 150.00 feet to a point; thence
       7.      South 17 degrees 38 minutes 38 seconds West 199.69 feet to a monument found; thence
       8.      North 75 degrees 57 minutes 26 se<!onds West 261.07 feet to a monument found; thence
       9.      South 14 degrees 02 minutes 34 seconds East 82.40 feet to a point; thence
       10.     North 58 degrees 26 minutes 24 seconds West 561.78 feet to an iron pin found in the
               southeasterly line of Savory Way; thence
        11.    Along the southeasterly line of Savory Way, North 25 degrees 33 minutes 36 seconds
               East 626.12 feet to a drill hole found in a concrete sidewalk; thence
        12.    1n a northerly direction, through a curve bearing to the right, having a radius of70.00 feet
               and a length of 81.40 feet to the point or place of BEGINNING.

        The above description is drawn in accordance with a survey prepared by William J. Fiore, dated
        August 21, 2006.

        Together with certain rights, privileges and easements appurtenant to the above described
        property created by those certain Deeds of easements recorded in Deed Book 3965 Page 238;
        Deed Book 3965; Page 241; and Deed Book 3965, Page 244.

        FOR INFORMATIONAL PURPOSES ONLY: Also known as Lot 2 in Block 117.02 on the
        Township of Mount Holly Tax Map, and Lot 4.01 in Block 22 on the Township of Lumberton
      · TaxMap.

        FOR INFORMATIONAL PURPOSES ONLY: BElNG COMMONLY KNOWN AS Block
        117.02 Lot 2, Mount Holly, NJ 08060 and Block 22, Lot 4.01, Lumberton, NJ 08048.




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       TRACTll:

       BEGINNING at a point in the southerly line of New Jersey State Highway Route No. 38 South
       Pemberton Road, said point being the following two courses and distances from the point of
       curvature of an arc connecting the southerly line of New Jersey State Highway Route No. 38
       South Pemberton Road and the southeasterly line of Savory Way running; thence

       A)     Along the southerly line of New Jersey State Highway Route No. 38 South Pemberton
              Road, South 58 degrees 26 minutes 24 seconds East 1108.90 feet to a point; thence

       B)     North 31 degrees 33 minutes 36 seconds East 9.00 feet to the point or place of
              BEGINNING and from said point or place of BEGINNlNG running; thence

       1.     Along the southerly line of New Jersey State Highway Route No. 38 South Pemberton
              Road, South 58 degrees 26 minutes 24 seconds East 200.00 feet to an iron pin set; thence
       2.     South 12 degrees 23 minutes 30 seconds West211.74 feet to a monument found; thence
       3.     North 58 degrees 26 minutes 24 seconds West 269.52 feet to a monument found; thence
       4.     North 31 degrees 33 minutes 36 seconds East 200.00 feet to the point or place of
              BEGINNING.

       The above description is in accordance with a survey made by William J. Fiore, Inc., dated
       8/21/2006.

       FOR INFORMATIONAL PURPOSES ONLY: Also known as Lot 2.04 and 2.05 in Block
       117.02 on the Township of Mount Holly Tax Map and Lot 4.10 in Block 22.01 on the Township
       of Lumberton Tax Map.

       FOR INFORMATIONAL PURPOSES ONLY: BEING COMMONLY KNOWN AS S.
       Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060




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                        EXHIBIT D
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                                             EXHIBIT•A'
                                       DESCRJPTION OF THE LAND

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       6.      South 31 degrees 13 minutes 02 seconds West 150.00 feet to a point; thence
       7.      South 17 degrees 38 minutes 38 seconds West 199.69 feet to a monument found; thence
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               East 626.12 feet to a drill hole found in a concrete sidewalk; thence
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        FOR INFORMATIONAL PURPOSES ONLY: BElNG COMMONLY KNOWN AS Block
        117.02 Lot 2, Mount Holly, NJ 08060 and Block 22, Lot 4.01, Lumberton, NJ 08048.




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       TRACTll:

       BEGINNING at a point in the southerly line of New Jersey State Highway Route No. 38 South
       Pemberton Road, said point being the following two courses and distances from the point of
       curvature of an arc connecting the southerly line of New Jersey State Highway Route No. 38
       South Pemberton Road and the southeasterly line of Savory Way running; thence

       A)     Along the southerly line of New Jersey State Highway Route No. 38 South Pemberton
              Road, South 58 degrees 26 minutes 24 seconds East 1108.90 feet to a point; thence

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       1.     Along the southerly line of New Jersey State Highway Route No. 38 South Pemberton
              Road, South 58 degrees 26 minutes 24 seconds East 200.00 feet to an iron pin set; thence
       2.     South 12 degrees 23 minutes 30 seconds West211.74 feet to a monument found; thence
       3.     North 58 degrees 26 minutes 24 seconds West 269.52 feet to a monument found; thence
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       The above description is in accordance with a survey made by William J. Fiore, Inc., dated
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       FOR INFORMATIONAL PURPOSES ONLY: Also known as Lot 2.04 and 2.05 in Block
       117.02 on the Township of Mount Holly Tax Map and Lot 4.10 in Block 22.01 on the Township
       of Lumberton Tax Map.

       FOR INFORMATIONAL PURPOSES ONLY: BEING COMMONLY KNOWN AS S.
       Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060




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                        EXHIBIT E
     SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 2 of 16 Trans ID: CHC201970317
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     SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 4 of 16 Trans ID: CHC201970317
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     SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 5 of 16 Trans ID: CHC201970317
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     SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 7 of 16 Trans ID: CHC201970317
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     SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 8 of 16 Trans ID: CHC201970317
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     SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 9 of 16 Trans ID: CHC201970317
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    SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 10 of 16 Trans ID: CHC201970317
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    SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 11 of 16 Trans ID: CHC201970317
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    SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 13 of 16 Trans ID: CHC201970317
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    SWC-F-002953-19 02/12/2019 3:48:36 PM Pg 15 of 16 Trans ID: CHC201970317
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